     Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 1 of 98

                                                                                    FILED BY: filfi                  C.
        David Morris Clayman / lt'J''?P ;iizm 171 / lt'J''?P 171 □ 1N, Pro se
2                                                                                         JUL 14 2025
                                                                                           ANGELA E. NOBLE
3                                 IN THE UNITED STATES DISTRICT COUR                      CLERK U.S. DIST. CT.
                                                                                        S. D. OF FLA . - FT. LAUD.

4                               FOR THE SOUTHERN DISTRICT OF FLORIDA

5

6
             David Morris Clayman ( / 171 □ 1N                  CASE NO.
7            1t'J''7P ;iwt'J 111),
             Plaintiffs,                                        INITIAL COMPLAINT
8

9                    vs.                                         PROPOSAL FOR CIVIC
                                                                 CURRENCY REFORM:
10           SCOTT BESSANT, in his official                      1. NECESSARY MOTTO CHANGE,
             capacity as                                         2. NECESSARY OR ADVISABLE
11                                                               DESIGN CHANGE AND
             Secretary of the Treasury;
12           UNITED STATES OF                                    SUBSTRATE (DURABLE,
             AMERICA;                                            IDENTIFIABLE, FULL-COLOR
13           CONGRESS OF THE UNITED                              PLASTIC) CHANGE
             STATES;                                             3. STRONGLY ADVISABLE
14           JEROME H. POWELL, in his                            CURRENCY NAME CHANGE
             official capacity as
15
             Chair of the Federal Reserve; and
16           GENE L. DODARO, in his official
             capacity as
17           Comptroller General,
             Defendants
18

19

20         THREE-JUDGE PANEL REOUESTED, PER 28 u,s,c, § 2284 (SEE PAGE 33)
21

22
                                               INITIAL COMPLAINT

23
        COMES NOW David Morris Clayman ( lt'J''7P ;iwt'J 1n / 1n □ 1N) , as the Plaintiff for all sectarian
24
        and civic religious claims herein, including:
25

26
            •   A plea for an updated non-sectarian motto, at minimum one that doesn't use the sacred,
27
        unhyphenated form of G-d's Name
28


                                   Complaint, Pleading, and Rejuvenating Proposal
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 2 of 98



        •    True access to self-pay cashless bail nationwide, requiring jails everywhere in the United

     States to permit and facilitate reasonable and speedy detainee access to a variety of convenient
3
     non-cash financial instruments accessible from their belongings or a computer terminal for the
4

5    payment of bail

6        •   A civic currency retitling and motto tournament contest to make our daily currency name

7    more meaningful
8        •   A civic currency design overhaul (plastic, better themes, no further penny mintings)
9

10   The Core Religious Conflict
ll
         1. Plaintiff David Morris Clayman brings this pro se complaint under the Religious Freedom
12

13   Restoration Act (RFRA), the First Amendment, and the Fifth Amendment to challenge a

14   longstanding government practice: the printing of the national motto, "In G-d We Trust," on U.S.

15   currency and other government-issued documents.

16       2. For Plaintiff and others who observe strict Jewish practices regarding the sanctity of

17   G-d's Name, this practice imposes a substantial burden. Under common American Jewish

18   custom and personal religious belief, G-d's unredacted , unhyphenated name must not be

19   desecrated or discarded, yet the Government routinely prints the full Name of G-d on materials

20
     that are treated like any other type of paper, walked billions of times a day into spaces Jews
21
     consider spiritually degrading like bathrooms where the print name of G-d should not be taken ,
22
     and the prints of G-d's full name are destined for very routine, daily unceremonized bulk
23
     destruction and disposal. This conflict renders Plaintiff unable to participate in normal economic
24
     life without compromising his faith .
25
         3. The "sacred form" of G-d's English Name that I will refer to by that label from here on is
26
     the unhyphenated version with an "o" in the middle of "G-d" that is written here either not at all or
27
     as little as possible. You will only see the sacred forms (English and Hebrew) in the
28


                              Complaint, Pleading, and Rejuvenating Proposal
                                                                                                          2
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 3 of 98



     reproductions of the Talmudic Tractate Rosh Hashanah and Megillat Taanit in the slides inserted
2
     in the middle of this document, and those pages if held in paper form must be treated with
3
     extreme care and certifiably handed or mailed back to the Plaintiff at the end of this proceeding
4
     please, as a religiously and legally necessary courtesy.
5

6    Relief Sought
7

8       4. Plaintiff respectfully seeks declaratory and injunctive relief to:

9
            a. Prevent the future printing or minting of currency bearing the unhyphenated Name of
10
            G-d and redesign the currency and motto or motto-name accordingly ;
11

12          b. Provide alternatives for religious objectors , including secular motto designs ideally

13          promoted up to the very title of the currency, ideally with modernized currency better

14          identifiable for those with disabilities like blindness;
15
            c. Reform cash bail systems and public services to permit no-fee digital payments;
16

17
            d. Compensate for burdens suffered under the Fifth Amendment's Takings Clause and via
18
            RFRA statutory mechanisms.
19

20       5. This complaint also proposes a longer-term solution : the establishment of a creative

21   national contest to select a new, pluralistic motto and currency title, aiming to unify Americans

22   through shared civic religious values , not sectarian claims.

23
24   II. JURISDICTION AND VENUE
25
26       6 . This Court has jurisdiction pursuant to :

27      o   28 U.S.C. § 1331 (federal question jurisdiction)

28      o   28 U.S.C. § 1346(a)(2) (claims against the United States)


                               Complaint, Pleading, and Rejuvenating Proposal
                                                                                                         3
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 4 of 98



        o     28 U.S.C. § 1361 (mandamus)
2
        o     42 U.S.C. § 2000bb-1 (c) (RFRA)
3
         7. Venue is proper in the Southern District of Florida pursuant to 28 U.S .C. § 1391 (b) and
4
      (e) because Plaintiff resides in this district at 7930 Palacio Del Mar Drive , Boca Raton, FL
5
      33433-4148 , and substantial events giving rise to this Complaint occurred here.
6

7
      Ill. PARTIES
8
9
      A. Plaintiff
10

11
            8. David Morris Clayman is a resident of Boca Raton , Florida , and a practicing
12
      Conservative Jew whose religious beliefs require the utmost care and respect for the sacred
13
      unhyphenated name of G-d , in English, in its dominant sacred form in any language he learns
14
      ("Mon Di-ux !" (FR) , "iDi-os mio!" (ES)) , and of course also the seven Holy Names in the tongue
15
      of Hebrew. The Plaintiff is a business owner (Healthy Consent, PBC , a Delaware Public Benefit
.16
      Corporation) , is an investor, and has lately started running for Commander-in-Chief, Precedent,
17
      and President of the United States in 2028 and beyond . Please note the real ization and
18
      struggles that precipitated and formed this case predate his decision to run for the Precedency,
19

20    but are yet one more example of his overwhelming frustration at being , like so many other

21    Americans , relegated to the role of a Non-Player Character (NPC) in American democracy for

22    lack of ability to have his grievances on this and so many other important issues resolved

23    through pleading with his legislators or the Executive Branch , needing instead to resort to this

24    rel igious rights claim in the Courts .

25          9. Pursuant to the religious history of Talmudic Tractate Rosh Hashanah 18B, Plaintiff
26    refrains from the use of currency or documents of any kind superfluously beari ng the
27    unhyphenated name of G-d , particularly when used as a central design element as we see on
28
      the banknotes and coins of United States currency, due to relig ious obligations detailed in the

                                 Complaint, Pl eadi ng, and Rejuvenating Proposal
                                                                                                          4
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 5 of 98



     Talmudic Tractate Rosh Hashanah 1884 and followed assiduously by his forebears, the
2
     Hasmonean Jews in the time of the Maccabees after the Maccabean Revolt.
3

4    8. Defendants
5
        1O. Scott Bessant: Secretary of the Treasury, sued in his official capacity for overseeing the
6

7    printing , minting , destruction and desecration of currency pursuant to 31 U.S.C. § 5112 , 31

8    U.S.C. § 5120. Service: c/o Office of the General Counsel , U.S. Department of the Treasury,

9    1500 Pennsylvania Avenue , NW, Washington , DC 20220.

10       11. United States of America : The federal government as a whole, responsible for

11   implementing and enforcing the challenged policies. Service: 500 E Broward Boulevard , Ft.

12   Lauderdale , FL 33394 , and U.S. Department of Justice, 950 Pennsylvania Avenue , NW,

13   Washington , DC 20530-0001 .
14
         12. Congress of the United States : The legislative body responsible for enacting the
lS
     statutory requirements regarding currency design and content. Congress shall be served through
16
     the Office of Senate Legal Counsel (642 Hart Senate Office Building , Washington, DC 20510)
17
     and the Office of the General Counsel of the House of Representatives (219 Cannon House
18
     Office Building , Washington , DC 20515) . This case would have been much easier to handle if
19
     Senate and House members had reacted sensitively to this religious design concern 10 years
20
     ago when it was first brought to their attention but ignored (multiple times on multiple trips to        li
21
     DC). We would have had a 10 year head start, and any attempted redesign and reissuance of
22
     currency might have been completed by now.
23
24       13. Jerome H. Powell : Chair of the Board of Governors of the Federal Reserve , sued in his

25   official capacity, responsible for determining currency fitness and overseeing its destruction and

26   desecration under 31 CFR Part 100. Service: c/o Office of the Secretary, Board of Governors of

27   the Federal Reserve System, 20th Street and Constitution Avenue , NW, Washington , DC 20551 . :
                                                                                                              '
28


                              Complai nt, Pleading, and Rej uvenati ng Proposal
                                                                                                          5
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 6 of 98



        14. Gene Louis Dodaro: Comptroller General of the United States, sued in his official
2
     capacity, tasked with auditing currency cancellation , destruction , and desecration under 31
3
     U.S.C. § 5120. Service: c/o Office of the General Counsel , U.S. Government Accountability
4
     Office (GAO) , 441 G Street, NW, Washington , DC 20548.
5

6
     IV. FACTUAL ALLEGATIONS
7

8
     A. Religious Beliefs and Historical Foundation
9

10
         15. Plaintiff adheres to the teachings of Tractate Rosh Hashanah 1884 and Megillat Taanit.

     Please attempt to read in full and fully understand this chapter of Jewish religious history
12
     as disclosed in the inserted PDF slide presentation "Hasmonean History - Shaimos (i .e.
13
     Protected Names of G-d) on BCE Debt Notes" before going any further. Please treat these
14
     pages that follow extremely carefully. They contain intact unhyphenated prints of G-d's
15
     Holy Name, not just in sacred form in the English languages but also in the tongues of
16
     Hebrew, which practically all religious Jews consider to be even holier and more sacred
17
     than English, or any other language or dialect. If you have a print copy of this, the print
18
     copy must be treated with the utmost respect and returned to the Plaintiff for religious
19

20   storage in a genizah (a temporary religious holding site for documents destined for

21   religious burial) and ultimately religious burial when this case closes.

22       16. This chapter of history detailed in Talmudic Tractate Rosh Hashanah 1884 and in

23   Megillat Tanit was so important to the Jewish people in Israel that there was a holiday on the              I
24   Jewish calendar on that day to celebrate the elimination of G-d's Name from debt notes, until           II
                                                                                                             jf




25   mourning the political assassination of Gedaliah the Governor 400 years earlier with a fast day
                                                                                                             I'
26   that most religious Jews still observe (the annual "Fast of Gedaliah ") was u ltimately deemed to           1


27                                                                                                           11
                                                                                                             I
     re-overweigh the importance of continuing to celebrate the elimination of G-d's Name from debt              I
28
     contracts.

                              Complaint, Pleading, and Rej uvenating Pro posal
                                                                                                         6
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 7 of 98



        17. To simplify the history: if I had to compare this to US civic religious holidays, it would be
2
     as if Presidents' Day, Flag Day, or St. Patrick's Day were originally celebrated on September
3
     11th, until the World Trade Center attacks replaced the celebratory day with a major mourning
4
     day that outweighs the original celebration and lasts millennia , until most Americans forget we
5
     ever had the original holiday on that date. But that does not obviate the civic religious or
6
     sectarian religious significance of these original celebratory days!
7
         18. If this RFRA case succeeds, pending final legal success, I plan to revive the Hasmonean
8
     Maccabean tradition and celebrate with my future family a minor new American or Jewish
9
10   American celebratory holiday on the day that the final judgment is rendered , which I deeply hope

11   will be decided substantially before and effectuated with orders and responsive draft designs no

12   later than July 4th , 2026 on the quarter-millenial celebration of American freedom .

13
     8. Jewish Law and Currency Practices
14

15
         19. Plaintiff adheres to Jewish laws and customs, including the principle of avoiding the
16
     unnecessary destruction or desecration of sacred texts and names, of which there are seven
17
     holy names in Hebrew and, for the Plaintiff, one (G-d unhyphenated) in English and one sacred
18
     form in almost every other commonly spoken language the Plaintiff learns or translates to .
19
         20. Under Jewish law and tradition , many Jews like the Plaintiff believe not just the Hebrew
20                                                                                                              'I

     names but also the dominant name of G-d in languages like English must generally be
21
     hyphenated (e .g., "G-d") on secular documents to prevent the intact sacred name from being
22
     desecrated if mistreated or from getting diluted or treated superfluously.
23

24       21. While it is very common for American Jews to hyphenate the Name of G-d in their own

25   writing practices , it is not common yet for American Jews to rea lize the logical extension is a

26   need to protect United States currency from bathrooms and end-of-life careless destruction . The

27   Plaintiff acknowledges his practices with currency are very rare currently among American Jews, ,I
                                                                                                     I
28   possibly wholly singular, but whether typified and classified under Jewish law as a relig ious legal


                              Complaint, Pleading, and Rej uvenating Proposal
                                                                                                            7
    Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 8 of 98



         requirement, custom, or idiosyncratic chumra 1 ("a fence arou nd the law") , these practices reflect
    2
         the most logical extension of the underlying religious beliefs of hundreds of thousands or even
    3
         millions of American Jewish "hyphenators" (of the Name of G-d) like me. Analogous civic
    4
         religious protections can be seen in American law as applied to the proper recommended display ,
    5
         and disposal of the American flag under 18 U.S. Code §700 , "Desecration of the flag of the
    6
         United States; penalties" . and 4 U.S. Code §8 "Respect for flag" . These codes require
    7
         ceremonial destruction of the flag when worn . Similarly, under Judaism , there are conventions
    8
         and religious requirements for respect and disposal for the Name of G-d (unlike the American
    9
         flag burning is strictly disallowed ; ceremonial Jewish religious burial is permitted) , and the

    II   Government is not and most People in the United States are not cautiously abiding by those

    l2   strictures, making it difficult or typically impossible for Plaintiff Clayman to transact in cash with

    13   them .

    l4
         C. Government Currency Destruction Practices
    15

    16
             22. The lifespan of banknotes is quite short, particularly from G-d's geological timescales .
    17
         About 15% of all currency Americans deposit into banks gets destroyed as "unfit for circulation."
    18
         The Federal Reserve destroyed about 136 million banknotes in 2022 alone-372 ,000 banknotes
    19
         with G-d's Name shredded unceremoniously each day.
    20
             23. Currency lifespans:
    21
            o     $1 bills: 6.6 years
    22

    23
1
 ! .th mra is a "fence about the law". meaning any rigorous Jewish practice that goes beyond the established
narro     ost understanding of what's necessary under Jewish law. Some chumras have become halakhic Jewish
laM. or instance, anyone who takes the prohibition to not "boil a calf in its mother's milk" to mean that chicken
meat ens do not even produce milk and don't have calves) can not be consumed within X number of hours of
dr1il!l<i cow milk have taken on a chumra as law. Choosing to wait six hours instead of three between meat and
milk c sumption is a commonly passed-on min hag (family tradition) as well as a chumra for those who take such
012'\!)e nd what they were taught by their nuclear family to be strictly necessary. It's worth mention ing that chicken
meat n curiously be eaten under Jewish law with chicken eggs but not with cow milk, all under rabbinic
e>1s n ons to this prohibition of not "boiling a calf in its mother's milk" . In Jewish law not all rules need to make
sense o us mortals to be considered valid and binding Orthodox law. These are some illustrations of chumras ,
minhags, and Halachic laws.
                                        Complaint, Pleading, and Rejuvenating Proposal
                                                                                                                          8
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 9 of 98



        o     $5 bills: 4.7 years
2
        o     $10 bills: 5.3 years
3
        o     $20 bills: 7.8 years
4
        o     $50 bills: 12.2 years
5
        o     $100 bills : 22.9 years
6
            24. About 70% of all "new" banknotes printed are just replacements for currency the Federal
7
      Reserve shreds daily. In a typical American lifespan of 77 .5 years, the sacred name on a $1
8
      banknote would go through 11 .7 "half-lives."
9
l{)         25. It's even more painful from a Jewish religious continuity perspective that the

11    Government relies on cash destruction machinery made by Giesecke & Devrient.

12    Giesecke & Devrient is a German firm with a shameful Nazi history and historical affiliation . They

l3    served the Axis Powers in World War II , helped industrialize currency printing in Hitler's Third

14    Reich , trafficked in blood money as suppliers of Reichsmarks , and knowingly counterfeited

15    British banknotes in Operation Bernhard . This is the same company, I understand , that facilitates

16    the destruction of G-d's Name on US currency today in gross and obscene violation of my
17    understanding of the needs of Jewish custom .
18

19    D. Coins

20
            26. While coins last longer than banknotes , they are treated often even more disrespectfully
21
      and carelessly-often ending up on floors , in dirt, or lost in couches . Almost no one adequately
22
      respects the Name of G-d on pennies, nickels, or dimes.
23
24
      E. Inflation
25

26          27 . The Name of G-d should not lose over half its inflation-adjusted value over 50

27    years, with a stated Federal Reserve target of diminishing the value of G-d's Name by 2% '

28    per annum. A quarter (25¢) whose value is guaranteed by the Name of G-d from 1986 has


                                    Compl ai nt, Pleading, and Rejuvenating Pro posal
                                                                                                            9
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 10 of 98



     fallen to an equivalent of 8.5¢ today. If currency bears G-d's Name, it should appreciate, not
2
     depreciate through deflation or perfect monetary steadfast stability, not diminish through
3
     programmed inflation .
4

5    F. Substantial Burdens on Plaintiff
6
         28. Plaintiff has been unable to use or circulate cash currency since 2014 because of this.
7
8    Because non-Jews and most Jews don't yet protect G-d's Name on currency as strictly, the only

9    persons with whom Plaintiff can transact are astute currency collectors dealing with highly

10   collectible specimens or lifesaving organizations that convert cash into stochastically strongly

lJ   probabilistic or definite lives saved (under the overriding religious duty to preserve life).

12       29. Plaintiff has experienced numerous hardships:
13
            a. Prolonged Detention Due to Cash Bail :
14
            The Plaintiff was detained in county jail for 28 days solely because he could not pay a
15
16          cash-only bond , despite possessing sufficient funds in electronic form. During this

17          detention, the jail system failed to accommodate the Plaintiff's religious dietary

18          requirements (vegetarian and vegetarian-kosher) , resulting in physical deprivation.

19
            Jails in Palm Beach County and Miami-Dade County accept only physical cash from
20
            inmates for bond payment and reject all other payment methods, including credit cards or
21                                                                                                              ii

            electronic funds transfer-even when the inmate has the means to pay. This policy
22
            imposes a substantial burden on the Plaintiff's religious beliefs and freedom . In contrast,
23
            Broward County permits credit card payments for bond. These inconsistencies between
24
            counties represent arbitrary and capricious variations in due process protections.
25
26
            If arrested in Fort Lauderdale (Broward County) , the Plaintiff could immediately post bail
27
            using a credit card. However, in Miami-Dade or Palm Beach County, an arrest for any
28


                               Compl aint, Pleading, and Rej uvenating Pro posal
                                                                                                           10
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 11 of 98



         reason-political protest, mistaken identity, or otherwise-could result in prolonged
2
         incarceration simply because jail staff refuse access to personal effects like wallets or
3
         mobile devices needed to pay bond electronically. This discrepancy exposes individuals to
4
          potentially weeks or months of detention , not due to dangerousness or flight risk, but
5
          because of inflexible payment procedures.
6
7         Across the United States, a patchwork of inconsistent and arbitrary rules governs how

8         "cash bail" may be paid , varying by jurisdiction at the local , county, state , and federal
9         levels. The Plaintiff respectfully requests that minimum standards be established to
10
          guarantee all defendants-particularly those with the means to pay electronically-the

          ability to access personal financial tools necessary to satisfy bond conditions. These
12
          standards should ensure reasonable access to wallets, phones, and digital platforms for
13
          payment, and not condition liberty on carrying physical cash or having cooperative family
14
          members available to intervene.
15

16        As for the option of using bail bondsmen : even when such intermediaries are theoretically

17        available, detainees are often denied access to phone numbers or meaningful
18        opportunities to negotiate with them . In the Plaintiff's past experience in Illinois, the jail
19
          made no effort to facilitate this. Moreover, a bondsman 's willingness to accept payment
20
          outside of jail on an inmate's verbal promise is highly speculative. Relying on family or
2J
          friends to coordinate bail is also problematic: it imposes an arbitrary social capital
22
          requirement that unfairly penalizes individuals whose families may disapprove of civil
23
          disobedience or be unavailable. Additionally, bail bondsmen charge a standard 10%
24
          nonrefundable fee-a financial loss that those with different religious or financial practices
25
          may avoid by simply paying bail directly.
26
                                                                                                                 11
27        Therefore , the Plaintiff argues that individuals must be guaranteed the right to satisfy cash ;I
28        bail using credit cards , electronic funds transfer, or other non-cash means. This is


                             Com plaint, Pleading, and Rejuvenating Proposal
                                                                                                            11
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 12 of 98



         necessary not only to protect religious freedom, but to ensure equal access to pretrial
2
          liberty regardless of a person's payment method or familial support network. The
3
          Constitution demands no less.
4

5         b. Inability to Pay for Everyday Transactions : Plaintiff is excluded from cash-only

6         services like laundromats, bars , social events, and street food , limiting his ability to

7         participate in communal activities .

8
          c. Significant Added Surcharges: Over 11 years, Plaintiff has paid over $1 ,000 in
9
          religious belief surcharges-coffee shops charging 50¢ surcharges on credit transactions
10

ll        under $10 , gas stations offering 10¢/gallon cash discounts he can't use, skydiving

12        companies charging $200 cash but $220 credit.

13
          d. Travel Cash Toll Risk: Plaintiff must plan road trips carefully to avoid cash-only tolls.
14
          On one trip from Ohio to Canada , his father had to pay a cash toll over Plaintiff's
15
          strenuous objections.
16

17        e. Emergency Preparedness Challenges: Plaintiff cannot hold cash for natural disasters

18        when electronic systems fail.

19
          f. Privacy Invasion : Exclusive reliance on digital payments subjects all transactions to
20
          government and corporate surveillance . Plaintiff cannot even buy condoms without the
21
          Government knowing.
22

23
          g. Accumulation of Inert Currency: Plaintiff received over $2 ,000 in cash wedding gifts            1

24
          he could not use. His only justification for depositing was making an equivalent donation
25
          to life-saving charity under pikuach nefesh , the overriding Jewish religious obligation to
26
          preserve life, mirrored in the Plaintiff's understanding of American religion as the
27
          "lifesavers override" .
28


                             Complaint, Pleading, and Rejuvenating Proposal
                                                                                                         12
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 13 of 98



          h. Disrupted Employment Opportunities: Plaintiff cannot work as a bank teller,

          bartender, waiter, street vendor, delivery driver, parking attendant, Federal Reserve
3
          employee, or serve on banking committees without achieving change.
4

5         i. Disrupted Childhood Experiences for Future Children : Plaintiff cannot teach his

6         children about money using US cash . They cannot operate lemonade stands or use cash

7         unless life is at stake. As a former teacher, Plaintiff observed how prominently "In G-d We

8         Trust" appears in elementary school currency lessons, creating discomfort about teaching
9         diverse religious students.
10

11        j. Difficulty Tipping/Donating: Plaintiff needs 2-3 minutes to tip via Zelle instead of 10

l2        seconds with cash . Donating to panhandlers or roadside sellers is nearly impossible.

13
          k. Inability to Walk into Bathrooms with Currency: Like any Shaimos , Plaintiff must
14
          guard G-d's Name from bathrooms and any other places considered too filthy for the
l.5
          Name of G-d to be uttered or carried . He must leave wallets outside or "double wrap" cash
16
          in plastic bags , which is an impractical, unlivable requirement when we're dealing with
17
          currency.
18

19        I. Inability to Take Small Cash Donations in Small-dollar-committed Political
20
          Campaign:
21
          The Plaintiff is a candidate for the office of United States Precedent (commonly referred to
22
          as President) in the 2028 election . His campaign is built on an idealistic small-dollar
23
          strategy, intentionally structured so that even teenagers-whom he seeks to
24
          enfranchise-can participate as "max donors." The only contemplated exception is a
25
          potential separate fundraising initiative to support a national incentive pool for living kidney
26
          and liver donations, justified under a "Lifesavers Override" imperative to protect and
27
          preserve life.
28


                            Complai nt, Pl ead ing, and Rejuvenating Proposal
                                                                                                        13
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 14 of 98



         This small-dollar (or "small CALM") strategy, paired with federal matching funds, would
2
         function far more effectively if the Plaintiff were able to accept spontaneous campaign
3
          contributions of any kind , including cash , particularly in high-traffic urban areas . Such
4
          funds could be directly deposited into his campaign committee's account to support
5
          outreach , including distributing Lifesavers candies and miracle berries with
6
          suddenly-sweet-tasting sour fruits , pushing the envelope of the Overton windows and
7
          financing voter-by-voter the development of a lifesaving policy platform and campaign
8
          team. However, due to his strict religious objection to handling U.S. currency bearing the
9

10        unhyphenated Name of G-d, the Plaintiff cannot accept or handle cash donations and can
                                                                                                               '

11        not allow or accept anyone organizing on his behalf or on behalf of any campaign team

12        he's a major player in (for instance, if an equal-third member on the proposed Lifesavers

13        Trinity tri umvirate Precedential committee) to do so either. He is limited to slower, more

14        cumbersome digital payment methods, which reduce spontaneity and accessibility for a

15        large swath of prospective donors and voters .

16
          Th is religiously motivated constraint places the Plaintiff's campaign at a significant and
17
          unequal disadvantage compared to other candidates , who freely receive the full value of
18                                                                                                             I!'
          cash donations without incurring transaction fees . In contrast, every contribution to               ii
19                                                                                                             ii
                                                                                                               I'


20        Plaintiff's campaign is subject to credit card processing fees , effectively taxing his political    11


21        activity in a manner not imposed on cash-accepting campaigns.

22
          If the Court doubts the substantial burden imposed on the Plaintiff, he respectfully
23
          challenges the Court to issue an order temporarily prohibiting all political candidates
                                                                                                                    I.
24
          nationwide from accepting or using physical cash in their campaigns for a single month.
25
          Such an experiment would quickly reveal whether existing alternatives to cash are
26
          sufficient and equitable. If the Court would hesitate to impose such a restriction on other          1
27
                                                                                                                   Ii
          presidential candidates in the 2028 election , then it should acknowledge that the Plaintiff's 1
28                                                                                                       !


                             Complaint, Pleading, and Rej uvenating Proposal
                                                                                                          14
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 15 of 98



1
           inability to engage with cash imposes a real and constitutionally significant burden on his
2
           right to political participation and religious freedom .
3

4       30 . Challenge to the Court: If this Court doesn't believe Plaintiff is substantially burdened ,
                                                                                                            j'.

5    he challenges Members to recruit ten (or more) friends and family to live completely cashlessly        :

6    for three months-30 months of collective experience--keeping assiduous journals on the

7    frustrations they experience being unable to use cash . Record your frustrations with privacy

8    losses, disaster fears during South Florida hurricane season , cash-only establishments , and

9    having to leave your wallets and purses outside bathrooms whenever nature calls . You'll surely

     become convinced of my burden within a month or two , if you are not already convinced now.



12   G. Ceremonial Deism Rejected

13
         31 . There has been a "legal" or "extra-legal" idea of ceremonial deism suggesting
14
     governmental religious expressions like "In G-d We Trust" are harmless due to long-standing
15
16   dilute and diluting usage. Plaintiff rejects this excuse on grounds that ceremonial deism is

17   inconsistent with Talmudic Tractate Rosh Hashanah 18B4, where even "superfluous" printings of

18   G-d's Name were deemed inappropriate as they would end up on a "dunghill ," and general

19   Jewish doctrine in which diluting the Name of G-d through superfluous overuse to meaningless

20   or irrelevance is not considered acceptable or permissible .

21       32 . In Lynch v. Donnelly (1984) , Justice Brennan wrote that these phrases were protected

22   from scrutiny because they "have lost through rote repetition any significant religious content."

23   Plaintiff fiercely disagrees-the Government cannot or at least should not dilute any of G-d's
24
     Sacred Names in any language to meaninglessness through overused secular repetition .
25
         33 . Plaintiff cannot reasonably expect the Government to bury currency fully intact at
26
     end-of-life , and machine-stamping out the Name or the National Motto mechanistically from all
27

28


                               Complaint, Pl eadin g, and Rejuvenating Proposal
                                                                                                           15
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 16 of 98



     currency subject to destruction is an impractical mechanical engineering step. The only feasible,
2
     reasonable strategy is immediate Court-ordered currency redesign .
3

4    H. Historical Context
5
         34. Since 1955, 31 U.S.C. §§ 5112(d)(1) and 5114(b) mandate "In G-d We Trust" on all
6
7    currency. The practice dates to the Confederacy, which printed it first before the Union copied

8    under the notably evangelical Secretary Salmon P. Chase on the 1864 two-cent coin. Chase

9    became Chief Justice shortly thereafter, almost certainly extinguishing all proper legal challenges

10   under the 1st Amendment "Separation of Church and State" before they could be mounted when

1J   this deistic tradition was in its cradle , before it attained the patina of "accepted tradition".

12       35 . The Federal Reserve's routine shredding of worn currency containing G-d's name

13   conflicts with Plaintiff's beliefs and those dating to the Hasmonean Maccabees.
14
         36 . In 1907, President Theodore Roosevelt attempted to strike the motto from currency,
15
     arguing it was religiously irreverent because currency acquisition was associated with Mammon
16
     rather than G-d . There was fierce debate with many supporting the "no sacred motto" side . If
17
     RFRA had existed , Plaintiff believes the motto would have been permanently stricken in and by
18
     1908.
19
         37 . Today RFRA exists , and finally individual religious Plaintiffs have the power to overturn
20
     neutral Government laws that substantially burden their religious expression, like the laws
21
     requiring minting and printing the "In G-d We Trust" motto on currency do.
22

23
     I. Lessons from Israel
24

25       37. Israel is explicitly a Jewish nation-state that controls its own currency. Despite being a

26   Jewish religious state, Israel has repeatedly rejected attempts by ultra- Orthodox parties to print

27   even oblique references to G-d on currency.
28


                               Compl aint, Pl eadi ng, and Rejuvenating Proposal
                                                                                                           16
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 17 of 98



        38 . Even printing "Be'ezrat Hashem" ("With the help of The Name")-similar to changing "In
2
     G-d We Trust" to "In The Name We Trust"-has been rejected by the Israeli government,
3
     including by Stanley Fischer when he served as Governor of the Bank of Israel before becoming
4
     Vice Chair of the US Federal Reserve .
5
        39 . If "In The Name We Trust" wasn't kosher and secular enough for the Bank of Israel , then
6
     "In G-d We Trust" is even more serious an unkosher violation of acceptable Jewish customs
7
        40 . The United States, which isn't a sectarian country, should not go further in evangelization 1
8
     than Israel itself is willing to go, particularly given the substantial burdens this causes Jewish
9

10   Americans .

ll      41 . Until and unless Israel agrees to print anything similar to "In G-d We Trust" on its

12   currency (as some ultra-Orthodox schisms/factions wish and repeatedly propose, only to be

13   smacked down) , the United States implicitly lacks permission or cause from the Jewish people

14   and faith as a whole to do the same

15

16   J. Jewish Involvement in U.S. Currency Management

17
         40 . Since 1986 (the year Plaintiff was born) , individuals of Jewish heritage have frequently
18
     held key positions overseeing currency, having their signatures printed on US currency to "sign
19
     off'' on the design, meaning , and value of the currency:
20
        o   Robert Rubin (Treasury Secretary, 1995-1999)
21
        o   Lawrence Summers (Treasury Secretary, 1999-2001)
22
        o   Ben Bernanke (Fed Chair, 2006-2014)
23
24      o   Janet Yellen (Fed Chair, 2014-2018 ; Treasury Secretary, 2021-present)

25       41 . Secretary Yellen , openly a practicing Jew, has her signature on much of the currency

26   printed w ith G-d's unhyphenated name.

27

28


                              Complai nt, Pleading, and Rej uvenating Proposal
                                                                                                          17
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 18 of 98



        42 . The Plaintiff has heard some rabbis argue that even though printing the unhyphenated
2
     Name of G-d on currency should be avoided , it's maybe ok as long as non-Jews are doing the
3
     printing , minting, and destruction of it.
4
         43 . As a people, Jews cannot wash our hands of the obligation to protect this currency by
5
     claiming we live in a non-Jewish country with non-Jewish currency. Our currency is pluralistic
6
     and must represent and be embraced by all faiths , including Judaism, ours .
7
         44 . The currency design must be consistent with no religious discrimination in federal
8
     employment in any position in the Treasury Department. As a thought experiment, if in a flash all •
9

10   employees of the federal government were Muslim, or Jewish , or Christian , or Bhuddist, or

1)   Hindu , or Atheist, there should be no need to change anything about the government just

12   because the government were Muslim, Jewish , Christian , or Atheist on that day in history. The

13   currency and National Motto is not currently consistent with that thought-experiment.

14      o   The Name of G-d would be changed to "Allah" if the Government were Muslim .

15      o   The Name of G-d would be hyphenated if the Government were Jewish , or removed

16          entirely as impermissible proselytism and ceremonial deism diluting the value and
17
            sacredness of G-d's Name.
                                                                                                            ,i
18                                                                                                          11
        o   The motto might be changed to "In Gods We Trust" if the Government were Hindu .                 ,'
                                                                                                            ii
19                                                                                                          II
        o   The Name of G-d would be removed or the motto changed to "In Good We Trust" if the              ,I

20                                                                                                          !I
                                                                                                            1,
            Government were Atheist.                                                                        i,

21                                                                                                          !I
         45 . ARGUMENT: The currency design (motto , title, and graphics) must pass this "religious         ;,
22                                                                                                          !I
                                                                                                            !i

     blink test" to be truly acceptable and unchallengeable under RFRA and the 1st Amendment.
23
                                                                                                             I
24                                                                                                          I'
     V. LEGAL FRAMEWORK
25
26
     A. RFRA Standard
27

28


                                Complaint, Pleading, and Rejuvenating Proposal
                                                                                                       18
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 19 of 98




        42 . Under RFRA, a "substantial burden" exists when government puts significant pressure on
2
     individuals to modify behavior or violate beliefs, or forces choice between faith and government
3
     benefits. Burwell v. Hobby Lobby, 573 U.S. 682 (2014) ; Gonzales v. 0 Centro , 546 U.S. 418
4

5    (2006) .

6        43. In Hobby Lobby, the Court held it is not the judiciary's role to question correctness of

7    religious beliefs , only whether sincerely held and substantially burdened .

8        44. Plaintiff sincerely believes handling currency bearing G-d's unhyphenated name

9    desecrates that Name. Because government mandates such currency with no alternatives ,

10   Plaintiff must choose between economic participation and religious observance-the definition of
11   substantial burden under RFRA.
12

13   8. Constitutional Standards

14
         45. The First Amendment prohibits government from burdening religious exercise or
15
     establishing religion. The Fifth Amendment prohibits taking or freezing property without
16
     compensation and guarantees due process .
17

18

19
     VI. CLAIMS FOR RELIEF
20
                                                                                                             pI

21   COUNT I - Violation of RFRA (42 U.S.C. §§ 2000bb et seq.)

22
     (Against All Defendants)
23
24       46. Plaintiff incorporates paragraphs 1-45.                                                         i;
                                                                                                             11
25       47. Government imposes substantial burden on sincerely held beliefs by requiring interaction :;
                                                                                                      H
26   with currency that desecrates G-d's Name.

27       48. Government lacks compelling interest in using sacred form unhyphenated version and
28
     fails to use least restrictive means.

                              Complaint, Pleading, and Rej uvenating Proposal
                                                                                                        19
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 20 of 98



        49. Less restrictive alternatives include: hyphenated form ("In G-d We Trust"), secular
2
     alternatives ("In Good We Trust"), or complete redesign with new civic religious motto and
3
     currency name.
4

5    COUNT II - Free Exercise Clause Violation
6

7    (Against Treasury Secretary Bessant, Federal Reserve Chair Powell, United States)

8
        50. Plaintiff incorporates paragraphs 1-49.
9
         51. Government actions prevent Plaintiff from engaging in essential civic and economic life
10
     due to religious refusal to desecrate sacred names.
ll
         52 . The law indirectly coerces behavior conflicting with religious observance.
12

13
     COUNT Ill - Establishment Clause Violation
14

15   (Against Congress, United States)

16
         53 . The mandated use of the phrase "In G-d We Trust" as the national motto constitutes an
17
     endorsement of a particular religious viewpoint and improperly positions the Government as a
18
     religious authority. This violates the Establishment Clause of the First Amendment and does so
19
     in a particularly egregious manner with respect to Jewish Hasmonean and Maccabean religious
20                                                                                                           '
     traditions and obligations, which strongly oppose the casual or superfluous use of G-d's sacred        ii
21
22   Name in secular contexts .                                                                             i
23       54 . Moreover, the mandated motto fails the three-pronged Lemon Test established in Lemon

24   v. Kurtzman , 403 U.S. 602 (1971 ). Specifically, it lacks a primarily secular purpose, as

25   evidenced by the Plaintiff's presentation of multiple available alternatives-such as renaming the

26   national currency to "Trust," "CALM," "Deeds," or "Seeds" (or another contest

27   entrant)-which would promote shared civic virtues (e.g. , trust, tranquility, altruism , or

28   intergenerational long-term investment) through religiously neutral means. These alternative


                              Compla int, Pleading, and Rejuvenating Proposal
                                                                                                       20
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 21 of 98



1
     titles would serve the same or even greater public messaging goals at a much louder volume in
2
     the major motto (as the replacement for the dated "dollar" currency title) while avoiding sectarian
3
     entanglement, thus constituting less restrictive means to achieve similar objectives.
4
        55 . The continued use of "In G-d We Trust" not only alienates religious minorities, including
5
     Jews, agnostics , atheists , and polytheists , but also imposes a constant symbolic and theological
6
     burden . For Jewish adherents in particular, it creates a daily conflict of conscience. The
7
     Government's insistence on this religiously charged motto, particularly in its prominent
8
     placement on currency-functionally a "minor motto" with major civic effect-has the
9

10   consequence of entangling the State with religious doctrine in violation of longstanding

ll   constitutional prohibitions.

12       56 . To remain consistent with its constitutional obligation of neutrality toward religion , the

13   Government should transition to a pluralistic civic motto and currency title-one that reflects

14   universal values and promotes inclusive participation across belief systems. Such a shift, timed

15   with the 250th anniversary of the nation 's founding , would allow for a "large, loud, and proud"

16   civic "major motto" chosen through democratic process to replace the sectarian default, guiding
17   trillions of annua l economic and social exchanges toward shared civic ideals, and if we choose a •
18
     "major motto" (currency title) well , it will have the effect of priming and shading slightly different,
19
     marginally better, more considerate, thoughtful , and prudent economic decision-making every
20
     time a cost, price , or value fo r anything is given , encountered , or considered .                        ll
                                                                                                                 p
21

22   COUNT IV-Takings Clause Violation                                                                           qI


23
                                                                                                                 I
24   (Against Federal Reserve Chair Powell, United States)                                                       ii
                                                                                                                 I'



25
         57 . Plaintiff incorporates paragraphs 1 through 56 by reference.
26

27

28


                               Complaint, Pl eadi ng, and Rej uvenati ng Proposa l
                                                                                                            21
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 22 of 98



                                                                         '
        58 . The Plaintiff has been effectively deprived of the practical'use of his property without just f;
                                                                                                            !'
2
     compensation, in violation of the Takings Clause of the Fifth Amendment. As one illustrative
3                                                                                                           i
     example , the Plaintiff received over $2,000 in cash wedding gifts-irrevocable transfers from
4
     invited guests-which he could not politely decline or convert into alternate forms of value . Due
5
     to his religious objection to using currency bearing the unhyphenated sacred Name of G-d, those
6
     funds were essentially frozen and rendered unusable for any purpose within his marriage.
7
           Ultimately, the Plaintiff concluded that the only religiously permissible course of action was ,
8
     to donate the funds to a malaria prevention charity recommended highly by GiveWell.org that
9
     provides life-saving bed nets, in accordance with the Jewish doctrine of pikuach nefesh (the duty

     to preserve life) , which he refers to as the "Lifesavers Override. " While Plaintiff takes moral

12   satisfaction in having made that donation, the donation was not a free choice-it was a

13   religiously compelled sacrifice necessitated by governmental policy. The Plaintiff should have

14   been able to make meaningful , ordinary use of his wedding gifts, just like any other United

15   States citizen , without government-imposed religious burdens functionally "taking " the fungible

16   value of his property.
17       59 . Because Plaintiff is unable, for religious reasons, to use or circulate cash in the same
18
     way as others, the value of his cash holdings is materially diminished. Government policy
19
     mandating the use of the unhyphenated religious motto on all currency results in a differential
20
     and burdensome impairment of Plaintiff's property rights, effectively stripping his cash assets of
21
     their utility without offering any compensation or accommodation in return . The Plaintiff is
22
     seeking to remarry with all due haste, as the Plaintiff wishes to become a father and grandfather, I'
23                                                                                                              ii
     and spend adequate time during his lifetime with his future children and grandchildren. The
24
     Plaintiff does not want to have to again get burdened by cash wedding gifts he can 't return or
25
     exchange, but that's the likely and inevitable future the Plaintiff faces unless this Court grants           I
26
                                                                                                                d
27   some form of relief, like permission to cut out and protect the subtextual National Motto and
                                                                                                                .,:1
                                                                                                                  I
28   deposit the funds freely without being accused of and charged with a currency mutilation
                                                                                                                ii


                               Com pl aint, Pleading, and Rej uvenating Proposal
                                                                                                          22
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 23 of 98


1
     misdemeanor, punishable with expensive and distracting prosecution and if convicted punishable ,.
2
     with up to 6 months in jail.
3

4    COUNT V - Right to Petition Government for Redress and Trust That They'll
5
     Actually Respond with Religious Protections
6

7    (Against Congress)

8
         59 . Plaintiff incorporates paragraphs 1-59.
9
         60 . Plaintiff petitioned Congress 10-11 years ago , took multiple trips to Washington , spoke
10
     with Senators Portman and Brown during "coffee hour meet and greets." Had they acted , the
lJ
     currency system would already be clear of sacred form currency, and we could have hosted a
12

13   brilliant "Quarter-Millennial Crime-fighting Currency Naming Contest" as part of the July 4th

14   celebrations that just passed , building excitement for the July 4, 2026 quarter-millenial. Now, any

15   such "design and renaming contest" will need to be held this year, and as time passes the

16   practical depth of such a national design contest or celebration thins . I freely recognize that I'm

17   partly to blame for that, by not giving up on any other avenue and just bringing this case to Court
                                                                                                    Ii
                                                                                                                 .
18   for adjudication several years ago. But notably, several years ago LLMs weren't as advanced as 11

19   they are today, in earlier years my ability to consult machine systems for legal advice and
20
     pointers without having found a lawyer specialized in RFRA ready to take this complex and
21
     extremely multifaceted RFRA case was much more limited.
22

23   COUNT VI - Reasonable Pro Se Fee Request
24
     (Against All Defendants)
25
26
         61 . Plaintiff incorporates paragraphs 1 through 60 by reference .
27

28


                               Compl ai nt, Pleading, and Rejuvenating Proposal
                                                                                                            23
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 24 of 98



l
        62 . Under RFRA, "Reasonable Pro Se Fees" should be awarded by analogy to attorney's
2
     fees , to motivate and compensate for faster, more effective filing by pro se litigants advancing
3
     complex religious liberty claims-claims that often require deep theological grounding and
4
     constitutional interpretation that many attorneys are unfit, unable, or unwilling to take on . Plaintiff   l!
5                                                                                                               i
     made a concerted effort to retain legal representation for this matter but was unable to secure
6
     counsel willing to pursue a RFRA case under a contingency model or at an affordable hourly
7
     rate.
8
         63. Plaintiff seeks $18 ,000 in compensation for assembling and prosecuting this case to its
9

10   present stage , representing 228.3 hours of labor at his last provable wage of $78.84/hour as a

11   Software Engineer II at lnVenture Capital Corporation . In truth, this case has already required far

12   more than 230 hours of intellectual, spiritual , and legal effort-and will require many more.

13   Nonetheless, Plaintiff would not object to a strict fee cap of 200-230 hours.

14

15       64. While RFRA does not contain an explicit fee-shifting provision , this Court should

16   recognize the deep kinship between RFRA claims and civil rights claims brought under 42
17   U.S.C. §1983. Under 42 U.S.C. §1988 , courts routinely award attorney's fees to prevailing
18
     parties in civil rights cases to incentivize enforcement of fundamental constitutional protections.
19
     The same logic applies with equal , if not greater, force to RFRA: it is a congressional                   1;
20                                                                                                              ·1
     "super-statute" designed to give religious liberty claims priority over facially neutral laws. Denying 11
21                                                                                                              I1
     reasonable fee recovery to prose plaintiffs under RFRA would undermine its core function ,
22
     especially in cases like this one where access to legal representation is impracticable.
                                                                                                                 I,
23
24
         65. Additionally, the Equal Access to Justice Act (EAJA) , 28 U.S.C. § 2412, recognizes that
25
     prevailing parties in lawsuits against the United States should not bear the full financial burden of !
26

     enforcing their rights-particularly when the government's position lacks substantial justification .
27

28   While EAJA typically covers represented parties in administrative or benefits-related cases, it


                               Complaint, Pleading, and Rej uvenating Proposal
                                                                                                           24
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 25 of 98



     underscores a longstanding congressional policy : when citizens prevail against the federal
2
     government in good faith , they should not be left worse off economically for having sought
3
     justice. The Plaintiff requests the Court to extend that principle equitably to this RFRA claim in
4
     light of its moral and constitutional gravity.
5

6
         66. While pro se litigants are typically barred from recovering attorney's fees under § 1988,
7
     Plaintiff respectfully asks the Court to recognize a narrow religious liberty exception-either
8
     under its equitable authority or through creative extension of RFRA's enforcement logic. Plaintiff
9

10   does not claim the value of time as legal fees , but as compensable labor necessary to vindicate

11   fundamental rights where no licensed advocate would tread .

12

13       67 . In the alternative , Plaintiff requests the Court to issue a certified question or invite en

14   bane or appellate consideration of whether a pro se litigant advancing a deeply sincere,

15   complex, and otherwise underrepresented RFRA claim may recover reasonable labor-based

16   fees under a hybrid equitable doctrine, in light of this claim 's public benefit impact and its critical
17   importance to religious minority rights.
18

19   COUNT VII - Penny Minting Ban and Currency Overhaul Under RFRA

20
     (Against Treasury Secretary Bessant, Congress)
21

22       68 . Plaintiff incorporates paragraphs 1 through 67 by reference.
23
24
         69 . The penny, which bears the unhyphenated sacred Name of G-d, is frequently discarded ,
25
     stepped on , or otherwise mishandled in ways that are inconsistent with Plaintiff's sincerely held
26
     religious beliefs . Its low value and widespread mistreatment render it unfit for sacred
27

28


                               Complai nt, Pleadi ng, and Rej uvenating Proposal
                                                                                                             25
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 26 of 98



     designation.
2
3
        70 . The recent administrative pause in penny minting under the Trump/Bessant
4
     administration represents a meaningful step toward economic rationality and aligns with
5
     Plaintiff's religious needs. However, such executive action is temporary and reversible, and does 1
6                                                                                                          I
     not provide the durable, legally required relief that RFRA mandates.
7

8
         71 . Plaintiff therefore respectfully requests that this Court:
9

10
11       •   Declare that continued penny production imposes a substantial burden on Plaintiff's

12   religious exercise under RFRA;

13       •   Enjoin the Department of the Treasury from resuming penny minting , absent compelling

14   justification and a demonstration that no less restrictive alternatives exist;

15       •   Direct that existing pennies be redeemable at banks and depository institutions through

16   a gradual and religiously sensitive decommissioning process , thereby reducing the ongoing
17   religious burden ;
18
         •   And recognize Plaintiff's right to religious accommodation from being forced to use or
19
     handle penny currency in any government-required or civic transaction .
20

21
         72 . While Plaintiff does not seek to criminally penalize private penny transactions (perhaps
22
     there can be a Court-ordered or Congressionally-enacted federal commercial civil penalty of $18 \
                                                                                                               I
23
     dedicated to a lifesaving purpose for any penny-involved transactions or issuances, and never
24
     ever for authentic currency collectors who treasure our currency as worthy of close protection) ,
25
     the Plaintiff requests a formal shift in federal policy to immediately more effectively discourage
26

27
28


                               Compl aint, Pleading, and Rej uvenating Proposal
                                                                                                          26
    Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 27 of 98



    1
         penny use and transition to a penniless national economy, and ensure that religious objectors
    2
         are fully accommodated, in line with RFRA and evolving national currency design policy.
    3

    4

    5

    6    VII. PROPOSED REMEDIES AND CURRENCY REFORM
    7

    8    A. Immediate Relief Options
    9
             73 . The Court should order one or more of the following : Option 1 (Minimally necessary
    10
         but not adequate): Modify motto on new currency to reflect Jewish hyphenation practice ("In

    12   G-d We Trust" or "In Good We Trust") . Option 2 (Minimally necessary and pluralistically

    13   acceptable but not adequate): Order Congress to redesign motto pluralistically without

    14   sectarian content that all faiths and non-faiths can agree on. Option 3 (Adequate and most

    15   preferred by super-wide margin): Strike sacred form motto completely and order/recommend

    16   currency naming and design contest for 250th Anniversary, selecting prescriptively meaningful

    17   currency title as "national motto" uttered quadrillions of times yearly with promising moral

    18   behavioral effects.
    19
         B. Currency Decommissioning                                                                                 I
    20
                                                                                                                     p
                                                                                                                     I
    21
             74. Order Federal Reserve and Treasury to gently decommission 2 unhyphenated currency
    22
         starting July 4, 2026 , using "Inverse Gresham's Law" to drive sacred form money from
    23
         circulation , as already precedented in American Council for the Blind v. Paulson .
    24

    25
         C. Alternative Payment Methods
    26

    27
2
 ]5€ laintiff is well aware that this process must be done very gently and incrementally. We would not want a
repeat of the chaos and cash shortages that happened in India's poorly planned 02016 Indian banknote
demonetization.
                                   Complaint, Pleading, and Rejuvenating Proposal
                                                                                                                27
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 28 of 98




        75 . Provide no-fee cashless payment for all government services.
2
        76. Order immediate nationwide cash bail reform allowing non-cash options and detainee
3

4    access to electronic funds.

5
     D. Additional Accommodations
6

7       77 . Accommodate religiously neutral practices like removing unhyphenated Name from

8    passports and state licenses.
9
        78. Grant relief including regular mediation with Executive Branch officials.
10
        79 . Given LLM support used in drafting , grant 13th Amendment enslaved persons regular
ll
     LLM access for civil rights advocacy.
12

13   E. Currency Naming Contest Proposal
14

15       80. For 250th Anniversary (July 4 , 2026) , establish national contest for new currency names

16   with moral resonance. Plaintiff proposes initial candidates: CALM - Immediate meaning of

17   tranquility; backronyms like:

18      a. Choose Alignment, Live Mindfully

19      b. Courage Always Leads to Mastery

20      c. Communally Adjust Liberty Modes

2l       81 . QALM - Quality Adjusted Life Moments/Minutes/Months TRUST - Elevating existing
22
     motto concept to currency name [Additional options for public contest]
23
         82 . Currency retitling would create profound behavioral economic effects. Imagine: "I want to   q
                                                                                                          I
24
     earn a lot of CALM when I grow up" or "I need more CALM to keep up with inflation" or asking for 1
25                                                                                                        I
     "a little calm" when in need .
26

27
                                                                                                              i
     F. Plastic Currency Transition
28
                                                                                                          II
                                                                                                          II

                               Complaint, Pleading, and Rejuvenating Proposal
                                                                                                     28
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 29 of 98



1
        83 . Adopt durable plastic currency like Australia , Canada, UK for:
2
       a. Longer lifespan (reducing sacred name destruction)
3
       b. Environmental benefits
4

5      c.   Enhanced security features

6      d. Hygiene improvements

7      e. Beautiful redesign opportunities

8
     G. Presidential Candidacy Consideration
9

10
        84. Plaintiff is running as a Precedential (Presidential) candidate for Harmless Hands in
ll
     2028. However, Plaintiff cannot serve if tasked with printing and desecrating sacred currency.
12
     The current Ouroboros of sacred form cash destruction limits Plaintiff's ability to serve in
13
     executive office.
14
        85. Any citizen should be able to serve as US President/ Precedent without experiencing
15
     religious conflicts with respect to the currency that their Government issues. Various faiths
16
     cannot agree on one "printable" divine label: Muslims prefer "In Allah We Trust," Jews need
17

18   hyphenated form or for it to be taken off, Christians prefer unhyphenated evangelism or a more

19   specific "In Jesus We Trust" , Hindus need "In Gods We Trust," Atheists/Agnostics would prefer

20   anything secular like "In Good We Trust."

2l
22   VIII. PRAYER FOR RELIEF
23
24   WHEREFORE , Plaintiff respectfully requests this Court:

25
     A. DECLARE government policies violate RFRA, First Amendment, and Fifth Amendment;
26

27   B. ENJOIN printing/minting unhyphenated sacred name on currency and documents;

28


                              Complai nt, Pleading, and Rejuvenating Proposal
                                                                                                      29
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 30 of 98


l
     C. REQUIRE government provide cashless, no-fee alternatives for all payments ;
2
3    D. MANDATE cash bail reform with true electronic payment accessibility and facilitation ;

4
     E. ENJOIN Government from minting further pennies immediately (or until redesigned with "In
5
     Good We Trust");
6
7    F. ORDER AND ENCOURAGE competitive currency redesign contest for civic religious motto

8    and ideally also a prescriptive currency name with much greater force than the sotto voce motto

9    by July 4, 2026 ;
lO
     G. ORDER currency be readily and easily distinguishable between sacred (prejudgment) and
lJ
     civic (postjudgment) versions per American Council for the Blind precedent;
12

13
     H. ORDER Plaintiff's privacy rights restored through cash currency access;
l4

15   I. ORDER nationwide reform allowing cashless bail payment and detainee fund access ;

16
     J. GRANT unconditional permission to cut motto from banknotes so that the Plaintiff can
17
     religiously protect those printings of G-d's sacred name in the interim, allowing for the remaining
18                                                                                                             11
     banknote to be deposited freely as needed without prosecution for currency mutilation under 18            II
19
     U.S.C. §333 ;                                                                                             11
20

21
                                                                                                               i!
     K. ACCOMMODATE other religiously neutral practices consistent with RFRA and the                           II
22   Constitution , like ORDERING the United States Passport to be printed without the unhyphenated             I
23   Name of G-d to be printed within it (replacement with "In Good We Trust" or any other Civic
                                                                                                               11
                                                                                                               1


24
     Motto is perfectly functional and acceptable) , and ordering all state driver's licenses and state
25
     seals nationwide, or at the very least in the States within which Jews and the Plaintiff reside
26
     (read : all States, or at least those States where any hyphenating Jew steps forward in any form
                                                                                                               I'
27                                                                                                             !
     to object to the sacred form on driver's licenses and state seals) , to have the unhyphenated
28                                                                                                             I
                              Complaint, Pleading, and Rejuvenating Proposal
                                                                                                          30
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 31 of 98


l
     Name of G-d be removed from all printed official designs, all in order to desacralize our secular
2
     identity documents and seals that we must carry with us through our daily and periodic secular
3
     activities, and make secular document and security document disposal and destruction feasible
4
     without desecrating the Name of G-d and committing the Government (local , state, or federal) to
5
     the ongoing long-tail burden of enforcing religiously consistent sacred form burial as a disposal
6
     requirement.
7

8    K. AWARD reasonable prose fees of $18 ,000 for this complex case;
9
     L. GRANT other relief deemed just and proper.
10

11
     Please forgive Plaintiff for not optimizing further, as time is limited.
12

13

14
     That's the end of my core legal case. But I want to offer a creative opening to the Government to
15
     make use of this design crisis as an opportunity to redesign currency more broadly, helping
16
     make our currency sacred without infringing on or arrogating the sacredness of G-d's Holy
17
     Name.
18

19

20   If the Government wishes to elevate our currency to a sacred place in our commerce, it can do

21   so in a much less harsh , more functional , and much less restrictive manner more pluralistically,
22
     and more logically by changing the national motto to stop arrogating the sacred Name of G-d
23
     while also changing the name of our currency from the low-linguistic-meaning ,
24
     teachable-moment-wasting "Dollar" title (from the "Valley" linguistic family of ancient and mostly
25
     forgotten language mutations -- tracing back through Daaler, Daler, Thaler, Taler, Thal ,
26
     Joachimstaler/Joachimsthal (originally the "Joachim's Valley coin")) to a term with moral
27
     injunctive prescriptive direction in daily commerce with baked-in resonantly active double
28


                               Compl aint, Pleading, and Rej uvenating Pro posal
                                                                                                          31
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 32 of 98



          entendres like "Trust", "CALM", "QALM'', "ALMS" (ALMS acronym: American Life Moments,

          Minutes, Months, with baseline "alms" philanthropic meaning and value) or any better competing
 3
          alternatives the public can dream up in a Quarter-Millenial renaming contest (see below
 4
          proposal), scheduled prospectively to recur every 250 years on the anniversary of our Nation's

          Independence from (and early Interdependence with) Old World traditions. Here are some highly
 0
          conservative design alternatives with a range of competitive names, including two at the bottom
 7
          that are blank for your own imagination to fill:

 9

 JO

 11

 12

 n
 14
 l•




 18

 19
          Row 1: TEN CALM, TEN QALM, TEN ALMS
 20
          Row 2: TEN TALENTS, TEN TRUST, TEN DEEDS
 21
          Row 3: TEN SEEDS, TEN WAVES , TEN STEAM
     ")


          Row 4: blank, TEN GOODS, blank
 .'.!J

 24       These names can compete in a public tournament or extended Congressional debate for the

          name w ith the most long-lasting moral resonance , a currency title that reinforces national and

          international moral teachings and economic morale. Here is one such sample tournament
 27
          bracket. See more detail in Appendix E.
 28


                                    Complaint, Pleading, and Rejuvenating Proposal
    Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 33 of 98

1

2

3

4

5

6

7

8

9
       WHEREFORE, the Plaintiff pleads and prays for such relief and such reform.
10

11      REQUEST FOR THREE-JUDGE PANEL, PER 28 USC §2284 (a)
12      Plaintiff respectfully requests the convening of a three-judge district court panel pursuant to 28
13
        U.S.C. § 2284(a) , on the grounds that this action challenges the constitutionality of Acts of
14
        Congress-specifically, 31 U.S .C. §§ 5112(d)(1) and 5114(b)-and seeks injunctive relief against
15
       their enforcement. Given the broad constitutional significance and national scope of the relief
16
        sought, Plaintiff further requests that the Chief Judge of the Eleventh Circuit designate two
17
        additional judges to hear this matter as required by statute.
18

19      Working to preserve life and death and religious liberty,
20

21

22
                                                                    mtiff David Clayman, Currently Pro se
23                                                             7930 Palacio Del Mar Drive
                                                               Boca Raton, FL 33433-4148
24                                                             +1 (321) 252 - 9626
25                                                             david@clayman.org
                                                               david@harmlesshands.org
26

27

28


                                 Complaint, Pleading, and Rejuvenating Proposal
                                                                                                             33
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 34 of 98




2    APPENDIX A: CULTURAL AND RELIGIOUS PRACTICES SURROUNDING

3    SHAIMOS
4
     Hyphenating the Name of G-d
5

6
     In Jewish tradition, the name of G-d is treated with the utmost respect and reverence. This
7
     respect extends to the written form of G-d's name in any language, including English. To prevent ,.
8
     the desecration or destruction of G-d's name, many Jews use a hyphenated form (e.g., "G-d")
9
     when writing the name in non-sacred contexts. This practice ensures that if the written material
10
     is discarded, it does not desecrate the sacred name.
1l

12   Shaimos and Document Lifecycle

13
     Shaimos refers to sacred texts or documents containing the name of G-d that can no longer be
14
     used . Jewish law mandates that such documents be treated with respect and disposed of
15

16   through burial in a genizah (a repository for sacred texts) rather than being discarded in ordinary

17   waste streams.

18
         1. Protection During Use: Sacred writings must be safeguarded to prevent defacement or
19
     damage.
20
        2. End-of-Life Practices : When documents containing the name of G-d are no longer in
21
     use, they are carefully stored and eventually buried in accordance with religious customs.
22
         3. Application to Currency: For observant Jews, currency bearing the name of G-d falls
23
     under these practices . The routine shredding or destruction of such currency by secular
24
     authorities creates a significant religious conflict.
25
26
     Religious Basis
27

28


                               Compl aint, Pleading, and Rej uvenating Proposal
                                                                                                        34
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 35 of 98



l
     The obligation to preserve the sanctity of G-d's name is rooted in Jewish scripture and law,
2
     including the Third Commandment ("You shall not take the name of the Lord your G-d in vain ")
3

4    and rabbinic teachings. These principles underscore the profound significance of treating any

5    representation of G-d 's name with care and reverence.

6
     By hyphenating the name of G-d and adhering to Shaimos laws, Jews ensure compliance with
7
     these religious mandates while navigating the challenges of modern secular life. Plaintiff's
8
     adherence to these practices forms the foundation of this case .
9

10   If you want to learn more, search online for "Why do Jews hyphenate the Name of G-d?" You'll
lJ   find hundreds of sources explaining Jewish religious and cultural practices on this. The
12
     application to US currency is fairly novel but a very natural , logical , necessary extension of
13
     extremely common practices millions of American Jews like me have.
14

15

16

17

18

19

20

21
                                                                                                             I
                                                                                                             I
22                                                                                                           I'
                                                                                                             ,I

23
24

25
26

27

28


                              Comp lai nt, Pleadi ng, and Rej uvenating Proposal
                                                                                                        35
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 36 of 98



1

2     APPENDIX B: JEWISH HISTORY AND TALMUDIC BASIS

3
      Historical Context
4

5     The Jewish tradition of avoiding unnecessary destruction of sacred texts originates from the

6     Hasmonean period , as detailed in Talmudic literature. During this era , excessive use of G-d's

7     name on secular documents led to its desecration. The sages , recognizing the gravity of this

8     issue, implemented measures to protect the sanctity of G-d's name.
9

10    Talmudic References

ll
      In the Babylonian Talmud , Tractate Rosh Hashanah 18b, the sages recount an incident where
12
      debt documents included the name of G-d. The practice was condemned because these
13
      documents, upon repayment, would be discarded improperly, leading to desecration . The sages
14
      abrogated this practice and declared the date a celebratory occasion to honor their decision to
15
      safeguard the sanctity of G-d's name.
16

17    Key Principles Derived
18
          1. Sanctity of Written Names: Any written representation of G-d's name is inherently
1.9
      sacred and must be protected .
20

21        2. Prevention of Desecration: Measures must be taken to avoid circumstances where
                                                                                                             11
22    sacred writings could be desecrated, even inadvertently.                                                 1
                                                                                                             jl
                                                                                                             Ii
23        3. Application to Modern Contexts: The principles outlined by the sages are timeless and           Ii
                                                                                                             :1
24    apply to contemporary practices, including the use of G-d 's name on currency and official             I'
25
                                                                                                             lI
      documents.

26
                                                                                                             I,,
      Relevance to Plaintiff's Beliefs
27

28


                               Comp laint, Pleading, and Rej uvenating Proposal
                                                                                                        36
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 37 of 98


1
     The Talmudic precedent establishes a clear religious obligation to prevent the improper
2
3    destruction of documents bearing G-d's name. Plaintiff's beliefs and practices are firmly rooted in

4    this historical and theological framework, underscoring the legitimacy of his claims .

5

6

7
8

9

10

I)

12

13

14

15

16

17

18

19

20

21

22

23
24

25                                                                                                         ·1




26                                                                                                         II

27

28


                              Complaint, Pleading, and Rej uvenating Proposal
                                                                                                      37
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 38 of 98




2    APPENDIX C: PROPOSAL FOR COMPLETE U.S. CURRENCY REDESIGN

3
     Currency Name Change Contest to Celebrate the U.S. 250th Anniversary
4
                                                                                                          "
5    The United States will commemorate its 250th anniversary on July 4th , 2026 , just little more than ;·

6    a year from now. As part of this celebration , the government ought to take this opportunity to

7    engage citizens in a meaningful and inclusive contest to propose new, more morally and

8    linguistically resonant names and beautiful graphic designs for U.S. currency. We can do a lot
9
     better than the currency we currently have if we unleash our nation's creativity on the problem .
lO

     This initiative would :
12

13       1. Promote Civic Engagement: By inviting public participation , the contest would foster

14   national unity and pride.

15       2. Honor Diversity : Designs could reflect the cultural and historical richness of the United

16   States.

17       3. Modernize Currency Aesthetics : Updated designs could incorporate state-of-the-art
18
     security features while celebrating the nation's heritage.
19

20   The Plaintiff would propose a nationwide and international "currency renaming contest" to find a

21   better name title for the US dollar, one that's educational , aspirational , and transactionally

22   resonant. The Plaintiff would propose three different names as "starter suggestions". The Plaintiff .•
                                                                                                              i!

23   thought obsessively for several months about the question of what currency name would be

24   better or best for the United States currency, and the three suggestions he settled on as most

25   competitive ("the interactive currency names to beat") were the following :

26
         1. CALM
27
         2. QALM (pronounced "CALM", with implied easy access to state a QUALM)
28


                                 Complaint, Pleading, and Rej uvenating Proposal
                                                                                                         38
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 39 of 98



        3. TRUST
2
        4.   RIPPLES
3

4    I want to have the opportunity to explain to the Secretary of the Treasury the unbelievably strong

s    merits of all four, and work with artists and designers to make the "deep culture" case for all

6    three . But let me briefly give you one example of the "deep culture" titling design for CALM, just

7    so you can have a sense of how a clever currency retitling could influence and be cross-reactive

8    with our national culture and language in contexts that matter enormously.
9
     CALM has immediate clear meaning ; Merriam-Webster's dictionary defines calm as an adjective ,
10

11   verb, and noun , variously describing a condition in which one is in a "state of tranquillity", a state

12   where one is "free from agitation , excitement, or disturbance". It can be used in combination with

13   "down" to "make calm", with the example usage of "calm him down ; get him to be reasonable"

14   (S .H. Adams) . Shouldn't our currency be imbued with the almost magical quality of being able to

15   get people, peoples , and nations we deal with to be reasonable?

16
     C (character - child - community - covenant - contract - change)
17
     A (altering - assuring - associated - adjusting)
18
     L (life - liberty - love)
19
     M (moments/minutes/months/millenia - metrics - milestones - meaning - monuments)
20

21

22

23   I enclosed a set of backronymed meanings specific to organ donor incentives in another federal Ii
                                                                                                                ,,
                                                                                                                ' II
24   civil case I filed recently (Clayman v United States, Southern District of Florida , 0:25-cv-60447)
                                                                                                                  I
25   that are exemplary of how beautifully multivalent CALM backronymed currency can be.
                                                                                                                il
                                                                                                                Ii
26                                                                                                              d
     I also asked an LLM (ChatGPT 4o) to respond to the following prompt: "Can you create a large               '
27
     set of backronyms for the word CALM?" I didn't even mention in this first prompt the idea that
28


                                 Complaint, Pleading, and Rej uvenating Proposal
                                                                                                           39
    Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 40 of 98


    l
         this backronym would be used on currency. Th is is what it spit out immediately3, these not
    2
         being my favorite examples and with many of them not being within the context of
    3
         transactional commerce with United States currency, but exemplary of a range of meanings that
    4
         people may choose to teach to their children and grandchildren to Contextually Adjust Life
    5
         Moments:
    6

    7
         "Sure! Here's a large set of backronyms for CALM , covering various themes:
    8

    9
         Personal Growth & Mindset
    10

    lJ       •   Choose Alignment, Live Mindfully

    12       •   Confidence And Love Matter

    13       •   Control Anger, Live Mindfully
    14
             •   Cou rage Always Leads to Mastery
    15
             •   Conscious Awareness , Lasting Mindfulness
    16

    17   Wellness & Health
    18
             •   Consistency Activates Long-term Motivation
    19
             •   Center And Lift Morale
    20

    21       •   Cultivate Awareness, Let go of Misery

    22       •   Change Approach , Live Meaningfully

    23
         Leadership & Success
    24

    25
             •   Command Attention , Lead with Maturity
    26

3
 f~e tructure of this case , as well as this immediate example of direct LLM use to assist in creativity, is
aq~m ediate example of the value of LLM access for those subject to the involuntary servitude and
slave exceptions of the 13th Amendment in jails and prisons across the United States and its
territories .
                                  Complai nt, Pleading, and Rejuvenating Proposal
                                                                                                           40
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 41 of 98



        •    Character And Logic Mattei
2
        •    Consistently Act Like a Mentor
3
        •    Conquer Ambition , Lead with Mindfulness
4

5    Technology & Science
6

7       •    Code Automation , Logical Modeling

8       •    Computer Aided Learning Model

9       •    Complex Algorithms, Logic Machines

10      •    Cloud Architecture , Low Maintenance

11

12
     Nature & Environment

13
         •   Conserve Air, Land , Marine
14
         •   Climate Action Leads to Miracles
15
         •   Choose Alternative Low-impact Methods
16

17
     Creativity & Art
18

19       •   Colors Arrange Lively Moods

20       •   Compose And Let Melody flow

21       •   Create Art, Lighten Minds

22
     Let me know if you'd like more or a specific theme! 'ffl"
23
24

25    Imagine, for example, a young child saying , "I want to earn a lot of calm (CALM) when I grow
26
     up", reinforcing the need to attain , achieve, and maintain emotional self-mastery lifelong as a key
27
     to lifelong success. Or a retiree saying , "I have enough cairn to retire," relieved that they finally
28


                               Com plaint, Pleading, and Rejuvenati ng Proposal
                                                                                                              41
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 42 of 98



     have enough of a nest egg to face any crises that may come with calm equanimity. Or a
2
     decamillionaire being able to say, "I paid 118,000 CALM for taxes this year. My net worth is at 10
3
     million CALM . I love/hate CALM going to the Government over my philanthropic calmunity
4
     pursuits ." Or a shop being able to say, "That dress is worth 155 calm." and a customer replying ,
5
     "That's too much calm for this dress, I get nervous above 100." Or a Starbucks valuing (and
6
     pricing) all its products in calm , as an exchange of calm . Or an employee asking for a raise from
7
     C22 .50 to C24 per hour ("I really need a raise from 22.50 CALM to 24 CALM per hour; I don't
8
     have enough calm from my raise this year to keep up with the rise in the cost of living") Or a
9

10   homeless person in great need suffering tremendous hunger asking a stranger for a little calm .

11   Or a religious preacher in the Judeochrislam tradition teaching her or his congregation of Isaiah

l2   32: 17, "The work of the righteous shall be calm and confidence forever." And for all these

13   situations, each person in the transaction is not only pursuing an ongoing general feeling of calm

14   in their life (even when paying for theme park/ rollercoaster thrills and excitement) , but is also

15   possibly thinking of their own more specific contribution to the CALM , whether that be a teacher

16   focused on Childhood-Altering Life Moments for the kids they teach or a police officer telling a
17   driver they stop from speeding to "Stay calm , ma'am", with the subtext that the driver's calm
18
     comportment will make the security encounter go more smoothly and help prevent calm from
19
     being threatened , and legal fines and punishments denominated in or impacting the judge's
20
                                                                                                                 1
     interpretation of what's necessary to Communally Adjust Liberty Modes for the person who was               1
21                                                                                                              I
     so stopped .
22

23
24
     I used to have a special font where I created a unique, "mode aware" currency symbol for
25
     CALM . My proposal would be to denote CALM 's currency symbol with a C with an optional
26
     checkmark positioned in the empty space in the middle of it, similar to the Quality Checkmark
27

28


                              Complaint, Pleading, and Rej uvenati ng Pro posal
                                                                                                           42
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 43 of 98



            trademarked by the Joint Commission on Accreditation of Healthcare Organizations4, just with a

            C instead of a Q, and an animated dynamic with the checkmark being added dynamically

            instead of static if the customer or counterparty strongly approved of the transaction and its
  4
            underlying ethics.
  5



  7



  9

   IO

   11

   12

   13
   14

   15

  16



   18

  19

  20

  21

  --   ')


            8 ALM
  26

  27
4 .,
  _,
https: r sdr.uspto.gov/#caseNumber=78693317 &caseSearch Type=US_APPLICATION&case Type=DEFAULT&searc
hType=statusSearch
                                    Complaint, Pleading, and Rej uvenating Proposa l
                                                                                                             . ...
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 44 of 98


1
     In the coming months, as this case moves forward , I'll try to find time to animate this CALM logo
2
     and the CALM backronym in a beautifully simple crossplatform smartphone application . I
3
     recently attained the skills to do so cross-platform with animations (animated position and
4
     animated opacity in scaffold stacks) using Flutter (https://www.flutter.dev) . I suspect it will be the i.
                                                                                                              ~:
5
     most cost-effective way to communicate this possibility of CALM currency graphically to a very,
6
     very, very large "calmunity" .
7

8
     I dream of a standard in commerce where at point-of-sale, a customer would have the option but ..
9
10   not the obligation to tap the currency symbol to signal that they are happy and satisfied with the

lJ   trans-action and its ethics , as a kind of miniature "thumbs up" checkmark quality survey for the

12   seller or retailer, to signify enthusiastic consent or satisfaction . It would become like a little

13   "voting box" or "ballot box" for daily commerce , democratizing commercial voting feedback

14   and helping guide and motivate trans-actions that are more satisfying , fruitful , and CALM (in

15   many manifold dimensions) for everyone involved. Imagine, for instance, retailers noticing that

16   consumers aren't endorsing calm as frequently when they shop for eggs as egg prices spike due
17   to spiraling inflation . Perhaps that ability to vote for or, more commonly, against retailer price
                                                                                                                 i,
18
     increases at the bill of sale or even line item level can help moderate the causative factors and
                                                                                                                 II
19
     mood of inflation . I even dream that having such a dynamic "ballot box" currency could spread
20
     the principles of democratic capitalism and the peace and calm it brings (CALM UNism) to
21
     countries worldwide that operate on more dangerous dictatoria l, communistic, or authoritarian
22
     models of governance. Many years ago while living in China I even created a special character
23
     in a font I created just to type the two versions of this currency symbol I'm imagining. But sadly, I
24
     lost the file for that font when switch ing laptops some time ago , and I don't currently want to take il
25                                                                                                                 !

     the time to reconstitute it; the process of creating a specialized font is fussy and time-consuming . ij
26
     But I will make versions of that design read ily usable on my keyboards before meeting in Court
27

28   or in mediation with any representatives of the Department of Treasury or the Executive Branch ,


                               Complaint, Pleading, and Rejuvenating Proposal
                                                                                                            44
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 45 of 98



     so that I can explain this expansion of "voting rights" to commerce, a realm where we already
2
     vote but more passively than this currency symbol enables on the services and goods that make
3
     up our world far more frequently than at the ballot box. From my point of view, a currency symbol ;
4                                                                                                          I
     that helped enable "voting" on your commercial transactions would be the coolest currency
5
     symbol on Earth , and might even gently encourage the spread of political democracy and the
6
     electoral ballot box through the experience of commercial "democratic voting" in ballotboxed
7
     commerce .
8

9    To make a brief case for CALM , if the currency were retitled by Congress, Courts , or Executive
10
     from Dollar to CALM , any person could freely express what earning or saving 100 CALM most
1l
     means to them , and pursue that, all while remaining permanently aligned on the community
12
     altar-ing life model and organizing principle of interpersonal, domestic, and international calm .
13

14   The Brief Case for QALM

15
     QALM is much more acronymically constrained alternative to CALM that is meant to be
16
     pronounced the same as CALM and would generally stand for Quality Adjusted Life Moment,
17
     Minute, Month, and closely matches the QALY public health unit (Quality Adjusted Life Year).
18
     The nice thing about QALM is that its spelling is very close to QUALM, and when using QALM                II
19
     the right to bring up a QUALM about your transaction would always be within reach. QALM , like
20                                                                                                             1
                                                                                                               11

21   CALM , can benefit from a checkmark-based dynamic voting currency symbol.

22
     The Brief Case for Trust
23
     The concept of Trust is already embedded in the National Motto, and promoting Trust from a
24
     word hidden in the national motto to the name of our national currency would make the concept ;:
25                                                                                                             I'

     of Trust far more prevalent in our exchanges. Trust is an intrinsic good , wherein holding or             II
                                                                                                               I
26                                                                                                             Ii
27
     attaining more Trust is always implied to be a morally meaningful goal. As Justin Broglie pointed         I'   1


     out many years ago, currency exchange is basically an objective measure of mutual Trust in the ,          11


28


                                Compl aint, Pleading, and Rej uvenating Proposal
                                                                                                          45
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 46 of 98


l
     performance of goods and services that we trade with each other. Quoting a cost in Trust allows
2
     the buyer to evaluate whether they do trust the seller enough with their Trust, and if the
3
     exchange goes poorly, the buyer can rightly point out, "I Trusted you. Please make good on your ,
4
     promises or refund my trust immediately." Unlike CALM or QALM , the Plaintiff hasn't thought of a ,
5
     groundbreaking dynamic currency symbol for Trust.
6

7    Switch to Durable Plastic Currency

8
     The United States should adopt plastic currency, as many countries (e.g., Australia , Canada ,
9
     and the UK) have already done. Benefits include:
10

11
         1. Durability: Plastic banknotes last significantly longer than paper notes, reducing
l2
     production and recycling costs over time. This is especially important for any currency that is
13
     intended to be durably sacred with any remaining version of G-d's Name in non-sacred form.
14
         2. Environmental Impact: Fewer replacements mean less waste and resource
15
     consumption .
16
         3. Enhanced Security: Plastic notes can incorporate advanced anti-counterfeiting features
17
     such as transparent windows and holograms.
18
         4. Hygiene: Plastic notes are easier to clean and more resistant to contamination,
19

20   promoting public health.

21       5. Recyclability : End-of-life plastic notes can be recycled into other products, reducing

22   landfill waste.
                                                                                                            11
23       6. Beauty and Aesthetics: Plastic currency provides currency printers with a wider palette

24   of colors and textures, allowing for gorgeous new redesigns of our US currency to coincide

25   thematically with the desacralization and proposed name change . If we must redesign our

26   currency, let's fully overhaul our currency to be truly remarkable and do it gorgeously, and move

27   away from the dead presidents model of currency design , which the Plaintiff even holds as a
28
     form of graven image idol or hero worship that should be discouraged .


                                Complai nt, Pleading, and Rej uvenating Proposal
                                                                                                       46
    Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 47 of 98


    1

    2
            Unlike the US currency, the Swiss Franc is "thoroughly redesigned every 20 years via design
    3
           contest of the Swiss National Bank" 5 . In 02014/02015 , a skilled designer named Travis
    4
            Purrington proposed brilliant, beautiful new designs for US currency that I want to share here, to
    5
            give you an idea of what's aesthetically feasible for United States currency if we move to plastic
    6
            printing . He described his design goals as follows :
    7
            "The goal was to develop a USO submission including an updated iconographic system that
    8
            re-interprets the advancements and culture within the American society. This particular series
    9
    10      plays on themes of societal and scientific discoveries endeavoring to connect them to human

    ll      achievement, multi-structured environments, cultural equity, and the fundamental properties of

    12      life."

    13      Just imagine this gorgeous currency coming to life with just such a fundamental face lift, joined

    14      with a new retitling , provisionally as TRUST, CALM , or QALM .. . whichever or whatever wins the

    15      proposed national currency renaming contest:

    16

    17

    18

    19

    20

    21
    22

    23

    24

    25
    26

    27

    28
5
    Travis Purrington . https://travispurrington .com/2014-usd-proposal
                                       Complaint, Pleading, and Rej uvenating Proposal
                                                                                                                47
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 48 of 98



 'l                                                                                                                                   100

                                                                               20
                                                   10
 3

 4

 5



 7

                      0                                                        0      -    --               0
                              U<fUN!ltl>SlA\'tS         TIE UNlftO $1A'ttS.           1'H£ WITEO iTATt.S         'tt-E~ltOStA.l'ES

 9        ..-             s
                              OfAMflllCA
                              ~                    Ol
                                                        OfJ.MEJ!CA
                                                        ..--::::::-4'
                                                                               oz
                                                                                      Of....,RICA
                                                                                      =·-                   OS
                                                                                                                 OfAMElltCA
                                                                                                                 ==--                 00~



 10

 11                                                                                                                                  IOO
                                                                                                           so
 12
                       s
                                                                              20    0
         LO                                                                         II)

 14

 15

 16

 17
                                                                                    I       H>SWU
 18                                                                                 o,.
                                                  01                          Ol                                                     001

 19

 20
      I will not reproduce all of the detailed designs here, as those can be explored on Travis
 21
      Purrington's website . I just want to show you the magnification on two of these designs, as
 22
      examples emphasizing our nation's accomplishments in the progress of science and technology
 13
      and the stunning beauty of our natural resources. Should we worship Long-dead President

      Andrew Jackson, renowned for his racism toward Native Americans, or should we worship
 25
      instead the achievement of being the first nation in human history to place astronauts in space?

 27   Note that the banknotes are different sizes with larger denominations being larger, unlike our

 28   current long-dead president currency, allowing the blind, visually impaired, children , adolescents,


                                   Complaint, Pleading, and Rej uvenating Proposal
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 49 of 98



     and adults to more quickly and easily identify and sort the value of the banknotes that they hold
2
     while handling banknotes . Such a change to the dimensions, design , and med ium of the
3
     currency will require careful review, as there are many downstream effects of a full facelift or
4
     overhaul like necessitating a replacement of ubiquitous currency counting machines, which of
5
     course at least some members of the currency counting industry will likely fiercely oppose . IGWT .
6
     cash-counting vending machines in the vending machine industry, for instance, would become
7
     some degree of out-of-date or obsolete depending on how far the Treasury goes with this effort.
8
     Most are already based on credit card readers, but I still find machines that rely on very
9

10   traditional US coins that I can't transact with . The Plaintiff understands that there are sometimes

ll   surprising and steep economic ramifications to a very deep facelift or overhaul of our currency,

l2   but the Plaintiff argues those costs of going further than what's minimally necessary are so worth

!3   it to bear to celebrate our Nation's 250th Anniversary of Interdependence, applaud American

14   achievements and culture without over-reliance on a currency culture of long-dead president

15   worship, invite stunning American creativity and artistic expression , and set our printed and

16   minted currency system up for the 21st and 22nd centuries.
17

18

19

20

21

22

23

24

25
                                                                                                              i
26                                                                                                            I
                                                                                                              11
                                                                                                              !!
27                                                                                                                I
                                                                                                              I;


28


                              Com plaint, Pleading, and Rej uvenating Proposal
                                                                                                         49
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 50 of 98




 'l
                                                 50
 3

 4

 5
            0                                    0-
                                                 ....
                                                 0
                                                 -0


 6

 7



 9

 10

 11

 12

 13

 14

 15

 16


           FIFTY Dollar Note                                 FIFTY Dollar Note
                                                                                 0
           THE UNITED STATES                                 THE UNITED STATES
           OF AMERICA                                   ••   OF AMERICA
 19        ..................
                                                OS                               OS
 10

 21



 23

 24

 25



 27




                                Complaint, Pleading, and Rejuvenating Proposal
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 51 of 98



      APPENDIX D: HONORING PRESIDENT ROOSEVELT (ROSEAVELT) WITH A
2
            PROPOSAL FOR REVIVED AMERICAN SIMPLIFIED NUMBER AND
3

4                                              SPELLING SYSTEM

5
(j
            President Roosevelt, who famously and honorably eliminated the In G-d We Trust motto from the

7    01907 Liberty coin , was also a notable fan and champion of Simplified Spelling. I spell his name                     :
                                                                                                                          1
8    parenthetically here as Rosavelt to honor that initiative as well , an initiative that has been all but "forgoten" 1

9    but that would be amazing if we could revive in small batches someday, to make modern American

10   English (i.e. the language or dialect of American) an easier language for everyone, and a better candidate :

11   for perpetual natural dominant lingua franca. A tangential example of where Simplified Spelling could

12   make an immediate impact is by shortening the pronunciation and spelling of the number "seven" to "sev",

13   so that English speakers can competitively fit as many numeric digits in our working auditory memory loop

14   as Chinese speakers, arguably our current fiercest competitors can, globally aiding mental math ,

15   arithmetic, recall, and OTP password fill operations -- supporting moving OTPs from six digits (1 in a

16   million breach) to sev digits (1 in 10 million breach) or higher.

17          Our whole number system could be radically simplified to be something similar to the Chinese

18   system of numbers (I propose: cutting every particle of meaning to just one syllable, without any of the

     complicated "teen" and "ten-ty" numbers, by competitive analogy to Simplified Mandarin: "sev hun three
19
     ten six dollars and ten eight cents" = $736.18) , which our country could adopt over the course of a
20
     "revolutionary" 02026 transition year, particularly with the increasing assistance of Al technical ,
21
     commercial , and educational support. See the amazing Handbook of Sirnpliifed Spelling and the more
22
     immediately accessible article by Malcolm Gladwell in his book Outliers on the competitively
23
     super-accelerated elementary math education of Chinese speakers, an acceleration so enormous that it
24
     might even help us catch up and permanently not just recover but zoom past earlier American elementary
25
     school performance, saving potentially millions of years of mathematical confusion by young American
26
     children and American as Second Language adults trying to learn the American number system ,
27
     benefitting for centuries from here from the rupture caused by pandemic learning loss and this proposed
28


                                 Complai nt, Pleading, and Rejuvenating Proposal
                                                                                                                     51
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 52 of 98



     effort now, with simplified "American" nurr bers. to catch rapidly back up.
2           I dream a little of gently declaring with fellow Americans thereby full independence of the American .
3
     language from the older legacy of the English language "controlled" or co-controlled by the British
4    People's and British Crown's tastes and conventions, and I know it to be a little dream considering all the

5    existing momentum of English numbers over the proposed simplified American numbers, but dreams only

6    can become realized if we make a concerted , collective effort to dream a little together, and this

7    communication is a first step that might be supported by such a Precedent (President) as President Trump

8    or a Party such as the Republican Party who have already historically changed the centuries-old name of

9    the Gulf of Mexico to the Gulf of America by rapid Governmental decree. It would be easier to coordinate

10   nationally, of course , if the Federal Department of Education still exists in some form if and when this effort ,

     at American numbers and American language gets decided . I know this is a tangent to the core argument,

12   but I didn't know where else to fit this , and this idea of American numbers and , in general, the push toward .

13   an American variant of Modern English (American) is itself also quite important for the Department of

14   Justice and all "superiour" and "inferiour" officers of the "Governement", who might oppose or support the

15   Plaintiff on this RFRA case, to bring to the Resolute Desk for serious "Roseaveltian" discussion. Enuf is

16   enuf, our "langauge" (local area network gauge) should be simplified , gently and slowly piece by piece,

17   starting , I suggest, with the number and metric system. It may go no further than that, but our language

     ("langauge") should be free to freely develop at its own pace, accelerated by the support of the latest Al
18

19
     technology and community social choice.
                                                                                                                        i
                                                                                                                        'I
            I will quote here at length from Malcolm Gladwell's Outliers under what I believe to be a "fair use"
20                                                                                                                      d
21
     exception to copyright. I hope the author Gladwell would be glad that I'm doing so to share th is with this        l
     Court, not angry. I purchased several copies of the book over the years , and hope to share these notions          .,
22
     with the Court:
23
24
                                                                                                                          I
                                 11.8 "Rice Paddies and Math Tests" by Malcolm Gladwell                                 ,1
25
26
            "Take a look at the following list of numbers: 4, 8, 5, 3, 9, 7, 6. Read them out loud . Now look away      iIil
27

28


                                 Compl ai nt, Plead ing, and Rej uvenating Proposal
                                                                                                                   52
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 53 of 98



      and spend twenty seconds memorizing that sequence before saying them out loud again . If you speak
2     English, you have about a 50 percent chance of remembering that sequence perfectly. If you 're Chinese,              ,

3     though , you 're almost certain to get it right every time.
4            Why is that? Because as human beings we store digits in a memory loop that runs for about two

5     seconds. We most easily memorize whatever we can say or read within that two-second span . And

6     Chinese speakers get that list of numbers-4, 8, 5, 3, 9, 7, 6-right almost every time because, unlike

7     English , their language allows them to fit all those seven numbers into two seconds. That example comes

8     from Stanislas Dehaene's book The Number Sense. As Dehaene explains:

9

           Chinese number words are remarkably brief. Most of them can be uttered in less than one-quarter of

II         a second (for instance, 4 is "si" and 7 "qi"). Their English equivalents-"four, " "seven"-are longer:

12          pronouncing them takes about one-third of a second. The memory gap between English and Chinese

13         apparently is entirely due to this difference in length . In languages as diverse as Welsh , Arabic,

14          Chinese, English and Hebrew, there is a reproducible correlation between the time required to

15          pronounce numbers in a given language and the memory span of its speakers. In this domain, the

16          prize for efficacy goes to the Cantonese dialect of Chinese, whose brevity grants residents of Hong

            Kong a rocketing memory span of about 10 digits.
11
                                                                                                                               !Ip
18
              It turns out that there is also a big difference in how number-naming systems in Western and Asian
19
      languages are constructed. In English , we say fourteen , sixteen , seventeen , eighteen, and nineteen , so
20
      one might expect that we would also say oneteen , twoteen, threeteen , and fiveteen . But we don't. We use
2.l
      a different form : eleven , twelve, thirteen , and fifteen . Similarly, we have forty and sixty, which sound like
22
      the words they are related to (four and six) . But we also say fifty and thirty and twenty, which sort of sound
23
      like five and three and two , but not really. And , for that matter, for numbers above twenty, we put the
24
      "decade" first and the unit number second (twenty-one, twenty-two) , whereas for the teens , we do it the
25
      other way around (fourteen , seventeen , eighteen) . The number system in English is highly irregular. Not
26
      so in China , Japan , and Korea. They have a logical counting system. Eleven is ten-one. Twelve is ten-two.
27
      Twenty-four is two-tens-four and so on. That difference means that Asian children learn to count much
28


                                   Compl aint, Pleading, and Rej uvenating Proposal
                                                                                                                          53
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 54 of 98



     faster th'an American children . Four-year-old Chinese children can count, on average, to forty. American
2    children at that age can count only to fifteen, and most don't reach forty until they're five . By the age of
3    five, in other words , American children are already a year behind their Asian counterparts in the most

4    fundamental of math skills.

5           The regularity of their number system also means that Asian children can perform basic functions,

6    such as addition , far more easily. Ask an English-speaking seven-year-old to add thirty-seven plus

7    twenty-two in her head , and she has to convert the words to numbers (37 + 22). Only then can she do the

8    math : 2 plus 7 is 9 and 30 and 20 is 50, which makes 59. Ask an Asian child to add three-tens-seven and

9    two-tens-two, and then the necessary equation is right there, embedded in the sentence. No number

IO   translation is necessary: It's five-tens-nine .

11          'The Asian system is transparent," says Karen Fuson , a Northwestern University psychologist who

12   has closely studied Asian-Western differences. "I think that it makes the whole attitude toward math

13   different. Instead of being a rote learning thing , there's a pattern I can figure out. There is an expectation

14   that I can do this. There is an expectation that it's sensible. For fractions , we say three-fifths. The Chinese

15   is literally 'out of five parts, take three. ' That's telling you conceptually what a fraction is. It's differentiating

16   the denominator and the numerator."

17           The much-storied disenchantment with mathematics among Western children starts in the third and
                                                                                                                                l1
     fourth grades, and Fuson argues that perhaps a part of that disenchantment is due to the fact that math
18
     doesn't seem to make sense; its linguistic structure is clumsy ; its basic rules seem arbitrary and
19
     complicated.
20
             Asian children , by contrast, don't feel nearly that same bafflement. They can hold more numbers in
21
     their heads and do calculations faster, and the way fractions are expressed in their languages corresponds
22
     exactly to the way a fraction actually is-and maybe that makes them a little more likely to enjoy math, and
23
     maybe because they enjoy math a little more, they try a little harder and take more math classes and are
24
     more willing to do their homework, and on and on, in a kind of virtuous circle.
25
             When it comes to math, in other words , Asians have a built-in advantage. But it's an unusual kind
26
     of advantage. For years, students from China, South Korea , and Japan-and the children of recent
27
     immigrants who are from those countries-have substantially outperformed their Western counterparts at
28


                                   Complaint, Pleading, and Rejuvenating Proposal
                                                                                                                           54
    Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 55 of 98


    l
         mathematics, and the typical assumption is that it has something to do with a kind of innate Asian
    2    proclivity for math .* The psychologist Richard Lynn has even gone so far as to propose an elaborate

    3    evolutionary theory involving the Himalayas, really cold weather, premodern hunting practices, brain size,

    4    and specialized vowel sounds to explain why Asians have higher IQs.t That's how we think about math.

    5    We assume that being good at things like calculus and algebra is a simple function of how smart someone

    6    is. But the differences between the number systems in the East and the West suggest something very

    7    different-that being good at math may also be rooted in a group's culture.

    8           In the case of the Koreans , one kind of deeply rooted legacy stood in the way of the very modern

    9    task of flying an airplane. Here we have another kind of legacy, one that turns out to be perfectly suited for

    10   twenty-first-century tasks. Cultural legacies matter, and once we've seen the surprising effects of such

         things as power distance and numbers that can be said in a quarter as opposed to a third of a second , it's

    12   hard not to wonder how many other cultural legacies have an impact on our twenty-first-century intellectual

    13   tasks .. .. " END PASSAGE.

    14

    15          The Plaintiff argues that the syllabic length of American number words is not an immutable law of

    16   nature. For the sake of our children and posterity we can "fork" American language from English language


    17   and shorten our number words , narrowing the gap between Asian counting performance and American

         counting performance among four and five year olds. The easiest step to start is just by shortening
    18
         "seven" to the unoccupied "sev", and shorten "zero" to the unoccupied "ro" or the even shorter occupied
    19
         "oh" (which can be confused with the letter "O" in alphanumeric strings6), and we can go gently forward
    20
         from there, designing American langauge to be more fully responsive to the observed needs of our
    21
         children and American Second Language (ASL) learners, simpler to count, to calculate, and to spell , as
    22
         President Roseavelt hoped for in concert with the Simplified Spelling Board . President Roseavelt didn't
    23
         have modern computerized spellchecking , computerized translation , and artificially intelligent educational
    24
         supports like we do today to fuel the rise and success of Simplified Spelling . The Plaintiff argues we
    25
         should give Simplified Counting and Spelling in the American langauge another serious go, since as they
    26
         said in the 01920s, "enuf is enuf'. Let's close the gap and honor President Roseavelt's legacy in
    27

6
  At I st when "O" isn 't in an unambiguous alphanumeric system like Crockford's Base 32, where the letter "O" is
removed to avoid confusion with the number "0".
                                      Complaint, Pleading, and Rej uvenating Proposal
                                                                                                                     55
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 56 of 98


l
     both the design of Our United States currency and the design of Our currently most common
2
     American langauge.
3

4

5

6

7
8

9

JO
II

12

13

14

15
16

17
18

19

20

21
22

23
24

25
26

27

28


                            Com plaint, Pleading, and Rej uvenating Proposal
                                                                                                 56
          Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 57 of 98




Talmudic Tractate
Rosh Hashana, Page 18B
Hasmonean Dynasty Jewish History and Law vs. The US Department of Treasury
           Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 58 of 98




Here's Page 188
of Talmudic Tractate
Rosh Hashana ...
 •   The Talmud is part of the
     tradition of
     Jewish Oral Law
 •   There are 37 Books of the
     Talmud, and each Book is
     called a Tractate
 •   All Orthodox Jews
     consider the Talmud
     binding oral law
                   Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 59 of 98




First, Some Context on the Passage
The Talmud is not written like your standard expository text: it's written like a record of an argumentative
debate between competing rabbinic perspectives in the course of setting law, and it is highly digressive,
and the digressions are often tangential to the point they're instantly trying to make.

This gem about protecting G-d's Name is buried in one such tangential digression, during a debate about
how to set the Rosh Hashana Celebration, the Jewish New Year, correctly on the Jewish Calendar Rosh
Hashana is supposed to always fall on the 1st and 2nd of Tishrei, Tishrei being the first month of the
Jewish Calendar, but with some exceptions. The Rabbis argue exhaustively for many pages about how to
schedule Rosh Hashana in every conceivable circumstance: when in Israel Rosh Hashana is 1 day .. .
when out of Israel it is 2 days ... when there 's a new moon you reschedule .. . it goes on and on and on ...

As they argue this and flesh this out like only calendar wonks can, the Rabbis digress and tell us that
there 's already a feast holiday scheduled for the 3rd of Tishrei, a holiday that celebrates miraculous
community-wide adherance to the protection of G-d's Name. It's this moment in Jewish history that has
bearing on the case. They're mentioning this in Tractate Rosh Hashana because it could, in one way or
another, affect (or be affected by) the calendar dates of the first or second day of Rosh Hashana.
(FYI: The 3rd of Tishrei you 'll hear about is no longer a festival day in modem times, but a fast day instead, as a means of mourning
the assassination of a beloved Governor of Judea named Gedaliah who was killed on the 3rd of Tishrei. Nonetheless, it was once a
feast day, and but for the even more tragic Fast of Gedaliah, might remain a feast day today)
      Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 60 of 98



What Do I Focus On?                                           •••


Only focus on the boxed passages magnified
in the following slides.
                                                                                -
      o The Core Passage is in Orange,
                                                                                                                    •
          on Slide 5
      o The Footnotes are in Red,
                                                                                                  ........
                                                                                                -------
                                                                                              .,.,.~
          on Slide 6 (and are so important and                                       ... ,,
                                                                                                    ---. . , . . fl'IU



          emphatic, you should practically
          memorize them too, if you can.)
      o Everything that is not, for your
          purposes, relevant is blocked off in
          Off-White
         Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 61 of 98



Page 18B: "The Smoking Gun"
ON THE THIRD OF TISHREI , the superfluous MENTION of
G-d 's Name WAS REMOVED FROM secular DOCUMENTS.
FOR THE GREEK REGIME HAD DECREED THAT THE
NAME OF HEAVEN MAY NOT BE MENTIONED ON THEIR
MOUTHS. AND WHEN THE HASMONEAN KINGDOM
BECAME STRONG AND DEFEATED THE GREEKS, THEY
INSTITUTED THAT (PEOPLE) SHOULD MENTION THE
NAME OF HEAVEN EVEN IN DOCUMENTS . AND THUS
THEY WOULD WRITE in their documents: "IN THE YEAR
SO-AND-SO TO YOCHANAN [37] who is the KOHEN
GADOL TO THE SUPREME G-D." WHEN THE SAGES
HEARD ABOUT THE MATTER they were displeased, for
(THE SAGES) SAID: TOMORROW THIS person WILL
REPAY HIS DEBT AND THE unneeded DOCUMENT WILL
BE FOUND LYING IN A GARBAGE HEAP. [38] SO THEY
ABROGATED [that Hasmonean enactment]. And when the
Sages saw that they had been successful in weaning the
people away from this practice, THEY MADE THAT DAY
INTO A FESTIVAL. [39]
                    Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 62 of 98




Footnotes 37 and 39
37. (Yochanan the Kohen Gadol was a seminal figure who lived
sometime before or during the Hasmonean era . There is a great
deal of discussion as to his exact identity: .... ]
39. It was difficult to stop people from this practice. When the
people nevertheless changed their ways and ceased using G-d's
name in secular documents, the Sages considered it miraculous
and declared that day a festival (Rashi; see Rashash) .
   [Chasan Sofer al Ha Torah U'Moadim offers a fascinating
explanation as to why the third of Tishrei was the day the Sages
succeeded in preserving the Sanctity of G-d 's Name: There is an
established principle in Jewish thought that the Ten Days of
Repentence correspond to the Ten Commandments. The first day
corresponds to the first Commandment, the second to the second ,
and so on . On each day, one is supposed to correct one's moral
deficiencies in regard to that Commandment. Now, the third of
Tishrei corresponds to the Commandment, You shall not take the
Name of Hashem, your G-d, in vain . Thus, that day was the
appropriate day to ensure that G-d's Name would not be used in a
cavalier manner and , when the Sages succeeded in preserving the
Name's sanctity, they made that day a festival.]
                 Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 63 of 98




Did you read Footnote 39?
"It was difficult to stop people from this practice .. . "

They declared a Jewish holiday when the printing of the Hasmonean Edition of IGWT finally
stopped, and the name was no longer being thrown into dung-heaps, or printed into superfluity. It
was that important.

Likewise, it's my belief that the Jewish People will celebrate the end of IGWT Printing as an
appropriate step toward the sanctification of G-d's Name. Finally, the Department of Treasury will
stop using the Name of G-d in vain, and shredding the Name of G-d in machines made by Giesecke
& Devrient, a German firm that printed currency for the Third Reich and printed the tickets to the
1936 Berlin Olympics, and still hasn't been open with the public about the extent of its collaboration
with the Nazis. That G&D machines are those that are destroying the Name of G-D makes this, for
me, especially poignant and devastating, and even more unacceptable as a cultural practice.

I'll celebrate the day a favorable decision is upheld in the Supreme Court lifelong as a feast day.
           Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 64 of 98




Relevant History
The Seleucid Greeks ruled the Jewish nation of Palestine until the Maccabean
Revolt of 167 - 160 BCE. The Maccabean Jews regained semiautonomous control
of the land, which led to two holidays: the holiday that marked the day the Name of
G-d was no longer superfluously destroyed (3rd Tishrei), and secondly, the
better-known holiday of Hanukkah.



Sources:
Wikipedia "Maccabean Revolt" , "Hasmonean Dynasty",
Babylonian Talmud, Stone Edition, Tractate Rosh Hashana 188
Case 9:25-cv-80890-WM Document 1 Entered
                            WORKING      on FLSD
                                      DRAFT      Docket 07/15/2025 Page 65 of 98
                                             - (v0.8BH)




              APPENDIX F: 02015 Currency Renaming Proposal

                Crime-fighting, Conscientious Capital:
         A Quarter-Millenial Currency re:christening (Naming)
                               Contest 1




     1
       Multiple test runs in multiple countries can powerfully confluence the deeply rooted longings that we all
     share for CALM LIFE, with ITEAM ◄ for the next generation. The most synergetic ally simplex can be
     selected for primary primacy, and the signal systems can be reviewed regularly for smartconsents as we
     re gi culpt our World. The word "Ripples" on currency may be close enough to Ripple Labs to constitute a
     trademark infringement. i'm not a trademark lawyer, this is a Conscientious Proposal for traditional
     currencies with high-optionality, was independently derived before I became aware of Ripple, and
     "Waves" has much of the same meaning , and could be synergetic with Ripple anyhow. The ™ is included
     aside "Ripple" for total safety. Smart pick, in any case. Very evocative and naturally thought-provoking .
                                                                                                               1
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 66 of 98
                              WORKING DRAFT - (v0.8BH)




              18 Currency Titles With Historical and/or Cultural Implications


                              A Gift From Generation to Generation
                             2025, 2075 & 2125 Tournaments, for the
                                 2026, 2076 & 2126 Celebrations



              PLEASE READ THE CAUTIONARY NOTE ON PAGE 2 BEFORE PROCEEDING




                                                                                2
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 67 of 98
                                              WORKING DRAFT - (v0.8BH)




                                     PLEASE READ THIS FINE PRINT VERY CAREFULLY
    This document contains, or may contain, copies of the name of G-d, as integrated into or as taken from the national motto,
       "In G-d We Trust" . Any kind of digital display and/or electronic storage of this document may be altered or erased by
     anyone, including Jews of any belief pattern, no matter their level of sensitivity for the English name of G-d, without any
    altaring process or religious difficulties. However, if this document Is printed onto media with PERMAnence in any format,
       such as paper, parchment, or cotton/linen, the name of G-d if unhyphenated will qualify under Jewish religious law or
       custom as shaimos, and it requires ritual treatment if/when it reaches end-of-life. The fully articulated, non-hyphenated
    name of G-d may not be erased by Jews in HHAJ, like the Undersigned Author, who hold this understanding of shaimos, or
      by officers of the state acting in their official capacity, and the National Motto ("In G-d We Trust") and/or the even smaller
    area containing G-d's name, must be buried in a qualifying cemetery, out of respect for the indigenous religious custom, to
       enable the free exercise of religion guaranteed under the 1st Amendment: "Congress shall make no law respecting an
      establishment of religion, or prohibiting the free exercise thereof ... " The Author follows Theodore Roosevelt in the belief
     that the printing of "In G-d We Trust" on currency is Wrong. Please consult the histories and herstories to understand the
                                               full range of religious dissent to G-D Shreds.


   This document presently contains the National Motto, which contains an unerasable name of
   G-d , written on the following pages:
       O No instances included yet.

    Before printing out this document, please affix your name and signature below, with a
    promise to bury all portions containing the name of G-d listed above as "shaimos of the
    second and/or third-degree". For suitable burial guidelines, please find a local Jewish
    cemetery, a rabbi, and/or contact the Author for guidance.

                                                 A PRINTING AGREEMENT

    I, _ _ _ _ _ _ _ , will print, photocopy, engrave or enscribe (prinUprinting) a portion from this
    document. Before printing or photocopying any image of currency in color for any length of time ,
    I agree to modify the image of the dollar contained herein to be less than ¾ or more than 1½
    times its official size in each linear dimension, as required by the US Secret Service
    Anti-Counterfeit Conventions.

    I, ______ , also agree that before printing any section of this document that is religiously
    sensitive onto hard media (such as paper, parchment, metal, or stone) in any form, I
    acknowledge that the print I am making includes a name of G-d in vernacular English within
    it-including but not limited to the National Motto-that the Author considers unerasable. The
    Author holds that the 1st Amendment proscribes any officer, employee, or contractor of the US
    Federal Government from shredding or burning the National Motto in its entirety or the English
    translation of the name of G-d in particular. If the print made reaches the end of its life, I agree
    to dispose of the print, restricted to any portion thereof containing the name of G-d, in a ritual
    burial, as required by the Jewish custom , and as interpreted by the Author.

    NAME:         _ _ _ _ _ _ _ (in print)                     TITLE: _ _ _ _ _ _ _ _ _ __
    SIGNATURE : _ _ _ _ _ _ _ _ __                             ADDRESS :
    WITNESS: _ _ _ _ _ _ _ __
    EMAIL: _ _ _ _ _ _ _ _ _ __

                                                                                                                                  3
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 68 of 98
                                      WORKING DRAFT - (v0.8BH)




    Can We Save Life, Institute Inter-Continental
    Calm and Build Steam by Retitling US Currency?
    How do we celebrate the 240th [2016] & 250 th [2026} Ann;versaries of the
    Declaration of Independence?

    Introduction
             This is a modest proposal for an inaugural quarter- or semi-centennial or
    quarter-millenial open currency renaming contest, planned for every 25, 50, or 250 years. The
    aim of the contest will be to rechristen the US dollar (whose name originally emerged in the New
    World from the Dutch Leeuwensdaalder coin) in order to fight crime and cut Gordian knots in
    domestic and foreign policy goals. The contest choice architecture and rules can be structured
    starting shortly after the 240th (2016) Anniversary, when a Joint Resolution of Congress will
    establish an United Revolution Quarter-Millenial Commission (ARQC). The final rounds of the
    contest can be hosted and decided on the 249th (2025) Anniversary, and currency prints under
    the new title can be released on the 250th (2026) Anniversary of the Declaration of
    Independence. A domestic and global naming tournament can and will enhance the influence
    and preserve the global reserve value of our currency, while interfering with criminal
    rationalization and interrupting violence escalation at home and abroad.
             It is often said that a picture is worth 1000 words. Eighteen I D:eight (18) sample
    currency names are presented on the cover sheet for your inspection . In the Appendices, you
    will find other critical supporting graphics, including lists, tables, a linguistic litmus test for name
    feasibility and a proposed schedule of contest milestones. Please note that any renaming
    contest will retain all existing design elements and security features of the extant banknotes in
    usage at the time of the tournament. The only alteration proposed for consideration is the name
    in small print, in order to dramatically enhance our currency's cultural achievements.
             No doubt about it, the Signers deeply appreciated the earth-shaking importance of
    names and titles. For example, consider the fierce debates the Founders had over the title and
    honorifics granted to George Washington, the First Presiding Officer of the United States (Mr.
    President). Unlike "President", the Founders backed into the name "dollar". The word "dollar"
    came to us from the "daalder" in the Dutch Leeuwensdaalder, or Lion's Dollar, and the word
    "Dollar" in old Dutch and German translates into "Valley". The word "dollar" had evolved in a
    historical progression from "Joachimsthaf' =t "thaler" =t "daler'' (cognate to the English word for
    "dale", or valley) =t "daalder" =t "daaler" =t "dollar". Joachimstha/ was a valley used as a silver
    mine in Bohemia - St. Joachim's valley. The township is now called Jachymov and is situated
    aside the Czech-German border, within the Czech Republic.
             The Signers of the Declaration of Independence (Signers) did not originally intend for our
    currency to be named based on the availability of silver in the Czech Republic. The first
    banknotes issued after the Declaration of Independence by the Continental Congress were
    known as "Continentals" and helped provision the Continental Army in 1776 . The original title of
    our currency, a name shared by Congress and our first Army, the "Continental", expressed the

                                                                                                          4
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 69 of 98
                                     WORKING DRAFT - (v0.8BH)




    Founders faith in Manifest Destiny. The Continentals could be redeemed for what the Signers
    called Spanish milled dollars, expressed in shorthand as "dollars". In reality, the Spanish milled
    dollars were Spanish "eighths-royal " (aka real de a ocho , eight real , or "pieces of eight"), which
    were highly-trusted silver coins minted in South America . To put it briefly, the Founders were
    allerg ic to any currency names that were identified with monarchy. Hence, they rejected the
    "pound sterling" system and also rejected the official Spanish name for the real de a ocho ,
    referring to it as a "Spanish dollar" or "dollar" instead . The usage was natural, because the
    Spanish dollars were practically identical in weight and make to the Lion's Dollar
    (Leeuwensdaalder) that was so commonly used in Dutch New Amsterdam , as both derived their
    standard of weight and make from older German thalers. The Spanish dollars from South
    America that the Founders relied upon co-circulated with early US coinage, and were accepted
    as legal tender in the United States until the Coinage Act of 1857. Before the Mint had been
    established , Robert Morris, the Superintendent of Finance under the Articles of Confederation ,
    debated the establishment of a Unit of Account with Thomas Jefferson , who was then a
    delegate to the Congressional Congress, and the head of the Currency Committee. Morris
    proposed that the Unit of Account be based on the common denominator of the Spanish Dollar
    and the British Pound , subdivided into 1000 mils. Jefferson counterproposed that the Unit of
    Account be the (Spanish) Dollar, split into 100 cents. In the Founding Documents of the mid- to
    late-1700s, including the Seventh Amendment of the Bill of Rights, references to "dollars" were
    understood by early Uniteds to be a direct reference to the Spanish dollar, not the dollars that
    we know today.
              A century ago, England's Pound Sterling was the preferred global reserve currency.
    Today, the US Dollar represents over 60% of global reserves. Will the US Dollar remain the
    global reserve currency for the next century? The United States Dollar currently competes with
    the Euro of the European Union (24% of reserves) , with the Pound Sterling of Great Britain (4%
    of reserves) and Rounds (translation of "Yen") of Japan (4% of reserves) trailing in a distant third
    and fourth . We can anticipate that the US Dollar will compete in the next century for global
    reserve currency status with the Euro and the ascending People's Currency (the English
    translation of "Renminbi") of The People's Republic of China.
              The "Euro" and "The People's Currency" are very modern names that audibly reinforce
    the pan-national and national identity of those within Europe's and China's monetary zone. The
    Euro got its name in a representative democratic fashion , after a schoolteacher named Germain
    Pi riot, a speaker of Esperanto, suggested the name to the then-President of the European
    Commission and was adopted by vote four months later at the Madrid meeting of the European
    Commission . The People 's Currency was so-named at the time the Communist People's
    Republic of China was founded , and was imposed by the People's Bank of China shortly after
    its founding , near the end of the Chinese Civil War. Only a handful of international currencies
    aside from these carry non-archaic meanings, but a few of those that do are worth mentioning.
    For instance, the West African Monetary Zone plans in 2015 to move to the "Eco", a polyglottic
    reference to ecology, eco-friendly action , and economic potential. In Botswana , situated in the
    Kalahari desert, the "pula" is the medium of exchange . "Pula" means rain, which is a fitting term
    for a currency in a region where rain is so precious.


                                                                                                        5
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 70 of 98
                                      WORKING DRAFT - (v0.8BH)




           The Senate and House can take on an even higher global mission and sponsor a
    national and global currency retitling contest cycle - the first of its kind - to enforce , reinforce ,
    and supercharge humanitarian values through commercial action at home and abroad . With
    wise contest rules , selection protocol and choice architecture , some extremely favorable effects ,
    both major and marginal, are predicted. By imbuing the medium of exchange with added
    meaning, Congress can nudge trade ever so slightly, day-over-day, year-over-year, on a
    completely voluntary basis, toward wiser allocations and the achievement of the following goals.



    Goals of the Currency Retitling
    Goals include major and marginal improvement in:

        CJ Achieving the mission of our forefathers, as expressed in the Preamble of the
           Constitution
        CJ Preservation of life
        CJ Institution of global calm
        CJ Building steam for STEM and arts education (matching educational achievement
           [currently in points] with wealth acquisition [currently in dollars])
        CJ Violence prevention and conflict mitigation
        CJ Softening of military conflict with diplomatic and economic soft power
        CJ Interference with criminal rationalization (self- and social psychology of crime)
        CJ Crush criminal networks from within
        CJ Improvement of juridical and jury reasoning , especially related to financial crime
        CJ Amplification of economic liberties abroad
        CJ Simplified interpersonal and international economic sanctions
        CJ Enhance our individual, local, state and national soft powers
        CJ Establishment of eternal global reserve status for our ever-evolving currency
        CJ Augmentation of cumulative populational Quality Adjusted Life Moments, Minutes, and
           Months (QALM) over this next Quarter-Millenia (2026 - 2276)
        CJ Gently prepare non-democratic nations for a democratic future with embedded
           vote-based commerce



    What is America's most underutilized sound-bite?
            In 2013 AD , 8.3 billion bank notes were printed by the US Bureau of Engraving &
    Printing. That annual production figure is larger than every Bible (~6B) or Red Book (~6B) ever
    printed in human history, and we know for a fact that our denomination of currency circulates
    and is vocalized more frequently than any Bible verse. The modern word "dollar" (hereafter
    presented in the archaic spelling , "daaler" or "daalder" from the Dutch "leeuwendaalder", or
    lion 's dollar) is repeated many billions of times a day, both aloud and subvocally. The mere sight
    of the $ sign triggers a sound pattern in the mind . The number of "unique impressions" per day
    is mind-boggling and innumerable. Considering just executed transactions-and executed


                                                                                                          6
Case 9:25-cv-80890-WM Document 1 Entered
                            WORKING      on FLSD
                                      DRAFT       Docket 07/15/2025 Page 71 of 98
                                             - (v0.8BH)




     transactions are just a small fraction of the number of times we encounter the audiovisual
     signature of$, "the dollar"-the Federal Reserve's 2013 Payment Study estimates that there
     were 122.8 billion non-cash payments in the United States in 2012 AD. Roughly 50% of US
     payments are still cash-based , bringing the total transaction count in US dollars within the USA
     to roughly 250 billion independent executed dollar-based transactions per year. 250 billion! Per
     year! That equates with trillions upon trillions of sound-bytes and mental rehearsals of the term
     "dollar" pre-, peri- and post-transaction each year.




     This signifies that the retitling rights to the US dollar are an unbeatable world-class intangible
     asset, but Congress's power to rename our currency, a world-class creative work, has not been
     exercised since the 1780s-90s, when the name of our US Currency (USC) was shifted from US
     Continentals to the present US Dollar.
             Yet tragically, the word "dollar" is not of its own evocative of the underlying moral ideals
     and commercial values of the United States. That's not surprising, since the word "dollar" has
     become an archaic word for a generic valley and a generic word for an archaic currency.
     Canada, Australia , New Zealand and many others all use longer-lasting plastic media for their
     currency, with the word dollar used worldwide as a generic term for "national fiat currency".
     When not otherwise specified , the term "dollar" defaults to the US Dollar, just as the term "dollar"
     used to default for our Founders to the Spanish Dollar. Arguably, the word "dollar" used on its
     own means nothing more (and nothing less) than "US Currency", carries no valuable secondary



                                                                                                         7
Case 9:25-cv-80890-WM Document 1 Entered
                            WORKING      on FLSD
                                      DRAFT      Docket 07/15/2025 Page 72 of 98
                                             - (v0.8BH)




     or double meanings within its roots . and is much less evocative than the original term we used
     for our currency, the Continental.
             Our Founders, starved for a reliable source of silver or gold, chose the term "dollar" so
     that our coinage and banknote production could be both supplemented with and backed by
     interchangeable Spanish-United milled dollar and Dutch Leeuwensdaalder coins . At right. you
     can see an image of the obverse and reverse of the 01739 Spanish "piece of eight". Below, you
     can see an image of the Dutch Leeuwendaalder, or Lion Dollar, which was reputedly most
     responsible for familiarizing Uniteds with the term "dollar".




     1739 Real de a ocho, aka the Spanish milled "dollar", the eighth royal piece




     1647 Dutch Leeuwensdaalder, aka the Lion's Dollar




                                                                                                         8
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 73 of 98
                                     WORKING DRAFT - (v0.8BH)




             The title of our Commander in Chief ("President [Presiding Officer] of the United States
    of America") was hotly (and thoroughly) debated by the Founders. Dozens of titles were
    considered, including until the term "President" was selected . Unlike the title of our President,
    our Founders did not have much time or sufficient security at the time of the Revolution to
    engage in a creative contest or debate about what the best possible lexeme (word) , morpheme
    (unit of meaning}, or glyph (symbol) for our currency would be. They simply borrowed the
    Spanish peso symbol from the Spanish ($) and the term "daalder" from the Dutch Lion Dollar,
    just as smaller nations today choose to name their national currencies "dollar", without deep
    creative reflection. We are no longer in the same circumstances as our Founders. As of 02014
    CE, two-hundred and thirty-eight years have passed since the signing of the Declaration of
    Independence. We are less than twelve years from the 250th Anniversary of Independence, the
    Quarter-Millenia Celebration . Now, n 02014, our Independence and our currency system are
    both secure and reliable. We are no longer starved for raw materials; we have all the copper,
    silver, gold, platinum, plastic, cotton, linen , ink, machinery, production and know-how we need .
    Now that we hold the world 's most trusted currency and dominate the global exchange markets,
    we have an opportunity to reflect on our most sincere beliefs, embed those beliefs in the name
    of our currency, and deepen an United brand of thick human international values that can be
    spread and reinforced through international trade and diplomacy.
             What if we were to re-identify the single most frequently used sound-byte of our
    culture-a sound-byte that triggers trillions of times annually-both here at home and abroad
    (the word "dollar), in times of peace and in times of war, with a direct, sonic invocation of
    fundamental human values, not just in the US but across the globe? By renaming the dollar,
     re-associating our currency with a different phonic, lexical, and even graphical signature, we can
    sound a cultural high-note heard 'round the world and accentuate the international goodwill of
    the United people with each successive utterance of our bank notes' name. Our local and global
     moral reserve currency is among the USA's most precious intangible assets - let's develop its
     potential further, scaling up from our present "valley" currency toward a more meaningful cultural
     summit currency name - moving from "thal " (valley) to a "berg" or "bergen" (mountain peak)
     currency name.
             At Currency Calm , we believe that such a currency name change can preserve life and
     fight crime-both violent and financial-extending America 's security system to the outermost
     reaches of our monetary system , and compounding common idioms (for example, "Keep your
     CALM" and "Keep CALM") with greater persuasive power in the context of violence prevention
     and interruption at a local, national and international scope.

    What currency names may outperform the word "dollar"?
             The challenge, of course, is to find a word that can be adapted into a synonym for "US
    Currency" that is already invested with and grounded in positive cultural precepts that can be
    vocalized in two or fewer syllables and six or fewer letters, and appeals to all decent human
    beings, regardless of their political party or affiliation.
             Words or mnemonics that invoke, evoke, or actualize global human ideals are
    preferable, particularly if they present us with a helpful rule-of-thumb for improved budgeting of
    our finite cognitive resources and/or constitute a call to philanthropic or pro-social action . Above

                                                                                                        9
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 74 of 98
                                    WORKING DRAFT -         (v0.8BH)




    all , we must search for words that can preserve life if embedded into our daily commercial
    speech.

             As a national and international contest, the Basic Contest Rules might begin something
    like this:
                • Prizes will be awarded to all quarter-finalist nominators in both the domestic and
                    international brackets, in the form of large-denomination US Banknote(s)
                • All entries must be expressed in two vocal syllables or less.
                • All entries, even in plural form , must be spelled in eight letters or less.
                • Entries can be pluralized or unpluralized, and specified pluralization need not
                    follow typical language convention (ex: 1 SPARK, 2 SPARK (verb) , 5 SPARKS
                    vs. 1 SPARK, 2 SPARKS (noun) , 5 SPARKS).
                • Entries that are acronymic or mnemonic are encouraged , and you can submit
                    multiple permutations for the same acronym (ex: Permutations of 2 CALM: 2
                    Century/Congressionally/Country/Continent/Classroom/Court/Clinically
                    Assured/Adjusted/Alta red/Altered Life/Liberty /Love/Labor
                    Moments/Minutes/Months/Millenia/Miles/Meters/Measures) .
                • Entries need not be in the English, Spanish or any other major language. All
                    languages are welcome, and every Ambassador to the United States from all
                    countries recognized by US Government may submit one official entry to
                    Congress for competition in an International Bracket.
                 • Entries may be accompanied by an explanation of no more than 1,000 words
                    describing how the word would be used in idiomatic phrases and in cultural
                    commerce
                 • Entries can be accompanied by a novel proposed currency symbol , even one
                    that is touch-responsive on touchscreens and digital media, with a legally defined
                    interactive pattern .
                 • Entries may be authored by individuals, teams or institutions and submitted to an
                    appropriate review body for a first review, in accordance with the contest rules

    Selection Guidelines
               • Entries that institute a mechanism for the preservation of life and liberty through
                  enhanced idiomatic crime prevention , remediation or law enforcement will be
                  given special attention.




    Featured Names
    Why STEAM?
           STEAM is a derivative of STEM and stands for "Science , Technology, Engineering , Arts ,
    and Mathematics." With STEAM as the name of our currency, we could impress upon children
    from a very young age that their classroom accomplishments in the STEAM subjects is the

                                                                                                    10
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 75 of 98
                                     WORKING DRAFT - (v0.8BH)




    source of success and the means by which they can run "Full STEAM Ahead " into a better
    world. Conveniently, the currency symbol for STEAM could remain the Spanish peso symbol($
    = STEAM , or even $TEAM)

    Why LIFE?
             What is of more fundamental value than life? Honest, lawful participation in the local and
    global economy is life-giving and life-preserving. By denominating our economic system with
    LIFE , the sanctity of the institutions and personnel that protect and defend the regular, regulated
    flow of LIFE will become self-evident.

    Ripple Effects In Implementing Federal Policies and Powers
              Imagine if domestic, foreign aid and defense budgets were explicitly modeled on LIFE.
    Economic sanctions against nations like Syria that threaten life will be simpler to apply, and
    would be modelled in multiples of LIFE threatened or lost.
              If the United States is ever in a position where a Declaration of War is considered in
    Congress, we would be in a more powerful position to press our case first through economic
    diplomacy, as denominated in units of LIFE . If we ever need to intervene with force for
    humanitarian reasons, when we deploy boots on the ground those young soldiers will be
    investing and circulating LIFE within the economy. Why attack a soldier who is helping you
    secure the means by which your family may find LIFE? In Afghanistan, Iraq, Vietnam and North
    Korea - every major war zone of the US Armed Forces in the last half-century - dollars are
    accepted as legal tender. If our military must be deployed, why not deploy our military under the
    commerce banner of LIFE? Deploying under the commerce banner of the dollar is gravely
    suboptimal, and results in an almost insurmountable empathy gap, much lost civilian life, and
    seething local resentment and skepticism about the USA's intent in military intervention. I
    hesitate to say so with force , but all theoretical evidence suggests that changing the name of the
    dollar to LIFE or another highly humanitarian name is among the most effective unexplored
    nonviolent COIN strategies. The currency that is circulated in foreign countries would essentially
    act as a Shield of LIFE for all those who are exposed to it, establishing the protection of LIFE as
    the common ground for peaceful coexistence.
              Remember, the 01993 and September 11th, 02001 attacks on the World Trade Center
    Towers by al-Qaeda were rationalized by al-Qaeda terrorists as an attack on the financial
    services sector, a manifestation of the "evil" Almighty dollar. It's harder to psychologically justify
    an attack on LIFE. With LIFE as our currency, terrorist networks like ISIS will have a more
    difficult time finding recruits, financing terror, and planning attacks against the institutions that
    anchor LIFE . It will be easier for law enforcement and clandestine services to identify informants
    to break up crime networks that threaten human life by way of the theft of LIFE , in all its forms.
              Audiences might laugh at comedians who joke about stealing dollars from banks. But
    would those same audiences laugh if a comedian joked about stealing LIFE? Financial crimes ,
    like the over t/ 50 billion fraud instigated by Bernie Madoff, are crimes not just against property,
    but against human LIFE.
              Every monetary instrument has a natural opportunity cost measured in a quality or
    quantity of life. If LIFE were the name of the US Currency, getting invested in the stock market

                                                                                                       11
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 76 of 98
                                     WORKING DRAFT - (v0.8BH)




    would be an investment in LIFE. Your life savings would be a representation of how much LIFE
    you have earned . A person losing income to a bad investment would be losing LIFE . Corporate
    executives would ask one another, "How much LIFE can be saved or spared through better
    engineering? How much LIFE can be earned through improvements in sales?" The currency
    would stimulate small business and entrepreneurship as families strike-out to make LIFE work
    for themselves and their partners.
             A natural conversation will emerge among everyone from the working poor to young
    professionals, from the LIFE indebted to LIFE billionaires, about how to spend , save, invest and
    share LIFE best: on luxury goods, creative works, services, donations or durable goods?
    Parents, grandparents and great-grandparents will be able to gift LIFE to the next generations.
    Donations to 501 (c)(3) organizations in US Currency would be measured in units of LIFE . Of
    course, getting through life will cost LIFE. Need a student loan? Students can borrow LIFE , to
    be repaid as they earn LIFE post-graduation .
             Achieving LIFE balance will connote both emotional adjustment and education-career
    planning. Small children could learn about how to budget, save and spend LIFE through one of
    the oldest United board games, Hasbro's (once, Milton-Bradley's) GAME OF LIFE . First printed
    here in America in 01860, before the outbreak of the Civil War, the GAME OF LIFE orients
    players toward the major decisions of LIFE . The Undersigned Author actually began
    investigating his eventual career as a science teacher after playing multiple rounds of the Game
    of Life; his preference for the career was revealed after repeatedly choosing "Teacher" as his
    profession , when other higher-paying professions were available to him.
             LIFE also forms a convenient acronym : Life/Law/Labor/Love/Liberty/Literature Is
    Fundamental Everywhere. The LIFE currency would afford parents, teachers and policymakers
    many teachable moments.
             What are some admissible drawbacks to renaming the USO to LIFE? For one , cashiers
    will have to say, "This box of Cheerios will cost 3 LIFE." That cost proposition may sound a bit
    strange to your ear at first, but we will all quickly get used to both value and cost propositions
    phrased in terms of LIFE. Granted, as long as the value of the good you 're purchasing is greater
    than or equal to its cost, as it should be for all voluntary trades, you will only gain LIFE with each
    trade. On the plus side, the sticker price of a box of cigarettes will cost, say, 6 LIFE. On margin ,
    we can expect cigarette purchases to become less frequent under a LIFE currency nudge.
    Second, the most natural currency symbol for LIFE would look much like the pound sign(£) , a
    currency our Founders firmly rejected when they declared independence from Great Britain in
    01776. We might design a distinctive L currency sign to use as a synonym with the Spanish
    peso ($) symbol that we currently use to represent the dollar, or stick with the vote or Spanish
     peso symbol exclusively to describe 5 LIFE (115 or $5) . Third , LIFE (L) is not as easily
    translatable into a school context as QALM (Q) , POINTS or MARKS. Not that it can 't be done;
    just that it is slightly more awkward awarding 100 LIFE or 100L to students with a perfect test
     score than 1000.




                                                                                                       12
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 77 of 98
                                       WORKING DRAFT - (v0.8BH)




    Why RIPPLE?
            When you use a "ripple", you will have an opportunity to reflect on the "ripple effects" of
    your transactions. Why donate to a charitable organization? Why contribute campaign funds to
    a candidate for local office? On the promise that with ripples from Us, you 'll produce waves for
    our community . Spend, save, and invest wisely : the more ripples We have, the easier it will be
    for Us to make waves. Children from a young age will understand our currency not as morally
    problematic in its nature, but as an essential tool for generating stability ("standing waves") and
    change , with cash flow described in all the rich language that describes a wave : period , phase,
    amplitude, shape, cycle, wavelength , and frequency.
            Sadly, the term "RIPPLE" is trademarked by RIPPLE LABS as a currency instrument. It's
    the only notable digital currency or crypto-currency that I_have found with a name that could
    cause true cultural "ripple effects". All the others (Bitcoin , Litecoin , Dogecoin, Peercoin ,
    Namecoin, etc.) are not cleverly named for widespread cultural amplification as a result of social
    adoption. No extant circulating currency that I know of is as well-named as "RIPPLE". Shifting
    the US dollar to the US Ripple may require the exercise of "eminent domain". Please consult
    with the US Patent & Trademark Office to be sure. Also , the abbreviation of the US RIPPLE
    currency would be "USR", which is maybe too close for comfort to the abbreviation of the former
    Union of Socialist Soviet Republics (USSR) . Uniteds who lived through any part of the Cold War
    (01946-01991) may express conscious or subconscious psychological resistance and revulsion
    at an abbreviation so close to USSR. If so , all terms starting with "R" are either out or require
    specialized abbreviation , such as "RPL".


    Why WAVE?
           Waves are a natural alternative to ripple . Want to change the world? Well , join a team
    and make some WAVES . Plus, the word wave is not trademarked in commerce as a
    transactional currency, like "RIPPLE 2" recently was, so no exercise of eminent domain will be
    required with the WAVE, at least as far as I know.


    Why CALM ('kalm)?
             The CALM , or the C, is a sibling of the QALY, a mission-critical public health metric that
    stands for "Quality Adjusted Life Year". The CALM mnemonic at its most basic stands for
    Character Altering Life Moment, but the currency extends to four major temporal horizons:
    Moments, Minutes, Months, and/or a Millenia . With enough CALM in our domestic and foreign
    affairs, we can even enforce a calm , peaceful Millenia, with trade sanctions denominated in and
    driven by lost CALM (which mnemonically represents life, liberty, time, travel , and treasure) . By

    2
     See, for example, USPTO Trademark Registration #86052980 . Trademarked by Ripple Labs Inc. The
    Ripple is the only cryptocurrency to emerge with a name that could substantially shift the sociolinguistic
    culture of international trade if it were widely adopted as the name of a major governmental denomination.
    As of 6:32 PM on July 8, 2014, 1 Ripple (XRP) = 0.0036 USO, and all XRP issued to date sums to just
    26.5 million USO in market cap. The Treasury could gobble up the Ripple (pay fair market value) with
    what it prints before breakfast, under eminent domain . There is no trademark whatsoever on QALM .
                                                                                                           13
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 78 of 98
                                       WORKING DRAFT -           (v0.8BH)




    imprinting our currency with CALM , we will interconnect health and wealth in marginal
    socio-economic and socio-educational decision-making. Does a cigarette buy you CALM? You
    might enjoy the cigarette for a brief moment, but how many life minutes and life months will it
    cost? How will the purchase of cigarettes alter your character?

            CALM (kalm) : US Global Reserve Monies that trigger and sustain a mood
            C: Choice / Character
            A: Altered I Adjusting
            L: Life / Liberty
            M: Moment, Month, Measure, Milestone
               {Moment, Minute3 , Month , Millenia (Choose a Time Horizon)}
               {Mile, Meter (Choose a Distance Unit)}

            US CALM (USC) : A currency that encourages questions (Qs) in commerce to secure
                            a global millenia of QALM .

    CALM also qualifies as a transitive verb, so the 2 CALM bill acts as a magnificent declaration of
    eternal domestic and general international purpose.

             An important feature of the "Altered/Altared Life Month" Family (CALM , QALM and ALM)
    is its use in the application of trade sanctions against a belligerent or hostile country that poses
    a national or international security threat. If and when a major or minor international leader turns
    belligerent or acts aggressively toward its neighbors, like President Putin of the Russian
    Federation recently has done, and threatens international calm , his administration can be
    penalized rapidly with trade embargoes public and private denominated in CALM (Character
    Altering Life Moments) or QALM (Quality Adjusted Life Months) for interfering with international
    calm . The populace in the Russian Federation would understand that threatening the calm and
    territorial integrity of their Ukrainian neighbors will beyond doubt lead to consequences in their
    own balance of CALM , through both private and international action to restore the balance of
    calm .



    A Name In Two Parts: Currency Title and Denomination
            Like the Chinese "People's Currency" (Renminbi) denominated in the Round (Yuan) , or
    Great Britain's Sterling denominated in the Pound , the US could present to the world a 1-2
    cultural punch : a fresh formal currency name with a calm formal currency title. For example, the
    US Ark (USA) Currency, introduced by the United States ARQ Commission , denominated in
    CALM .


    3
     Dr. Vicken Totten , MD, MS , FACEP, FAAFP, was the first person who mentioned the QALM acronym ,
    expanding it to "Quality Adjusted Life Minutes", an adaptation of existing QALY (Quality Adjusted Life
    Year) usage. From there, the four horizons ("Moments, Minutes , Months, and Millenia") quickly fell into
    place.
                                                                                                               14
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 79 of 98
                                     WORKING DRAFT - (v0.8BH)




    How does the cultural capital unleashed by the RE:Naming Contest Tourney
    translate into human capital development?
             Great question! Let's turn to Germany for a historical example. I'll focus on one example
    of how human capital development can be transfigured through a more intimate linguistic
    interlinkage of financial currency (currently dollars) with the educational currency (currently
    points) .
             For 126 years , students and workers in Germany earned "marks", from the adoption of
    the Mark as the sole legal tender in unified Germany in January 1st, 01876 until the Euro's entry
    into circulation on January 1st, 02002 . Meaning, throughout their education and subsequent
    working lives, marks were awarded for strong performance. Better "marks" in school suggested
    stronger future salaries denominated in marks. At no point did students disjointedly switch from
    "100 points" to "4.0 GPAs" to "dollars", as they regularly do in the United States. Anyone who
    was abruptly transferred from a 100 point to a 4.0 grading system knows how important a
    consistent grading scale is for sustained performance. A student who consistently earns ti' 100
    on her science and math exams has many more possibilities for career achievement in STEM
    occupations. By representing homework, quiz and test grades in terms of our native currency
    system , students learn to esteem their performance in terms of the promise of future career
    earnings and options.
              It would be ideal to select a name for US currency that can also serve as a denomination
    for classroom points in United education. Doing so will reinforce the motivational substructure at
    all points along the "cradle to career" pipeline. That holds true even if we recommitted to the
    name "dollars" to denominate education and market performance .
              On the other hand , if, for example, the currency were called QALM, teachers could
    award students Q for good questions, and tests could be graded in terms of Q100 (prefix
    notation) , or 100Q (postfix notation). Good Qs lead to As, and As lead to more Qs. A perpetual
    self-reinforcing QALM cycle can be launched starting in grade school as students learn how to
    ask a good Q and provide solid As in order to improve all their Life Measures and invest their
    efforts into capitalizing Life's Meaning . It's my belief that QALM is very close to a global optima
    for an education-centered currency title.

    Who would nominate names for legislative consideration?
            Let Senators, Congresswomen and Congressmen , citizens, and resident aliens submit
    entries into a Global Naming Contest. (For a sample list of Name Nominators and Stakeholders,
    see Appendix Five.) Open up an international bracket. Curate national and international
    submissions through separate Blue Ribbon Panels, with the final candidates selected by a
    Congressional Committee and approved by Congress. This naming contest ought to be as
    inclusive as possible . America thrives off a melting pot of ideas that emerge on every continent.
    Just introduce sensible guidelines, to filter out improper influence and suggestions. You can
    even design the inaugural naming contest to repeat on a preestablished half- or
    quarter-centennial cycle, so that each generaton can evolve the title of our currency such that it
    remains the preeminent global exchange medium and the prevailing storehouse of financial and
    moral value in international markets for centuries to come. You can even release the runner-up

                                                                                                      15
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 80 of 98
                                     WORKING DRAFT - (v0.8BH)




    currency name in a limited edition print run, as an accompaniment and adjuvant to the primary
    global currency therapy.




    A lever that can move the world forever... with surprising cost-efficiency...
            Changing the name of the dollar (with no change to its underlying value) will cost no
    more than swapping out the word "dollar" for "RIPPLE", "QALM" or "CONTESTWINNER" in the
    printing plates at the Bureau of Engraving and Printing. The print difference is for most
    denominations less than 1 ½ inches long , and can take place in the same font, font size and
    location that current dollar designs use. The newly printed currency name can be slowly
    introduced into the currency supply at the regular replacement rate. The cost of change will be
    negligible compared to the ripple effects that such a change will institute in popular commercial
    culture. This therapy-a currency rename-will do a dramatic amount of good, and may help to
    repair our relationships with currently hostile foreign populations. Imagine, for instance, if our
    currency were named LIFE, as a mnemonic for Life, Labor, Love and Liberty Is Fundamental
    Everywhere. An attack on the World Trade Center would then be an overt attack on LIFE . Such
    a currency name would introduce cognitive dissonance into the minds of would-be attackers
    bent on attacking or undermining our currency, and would serve as its own counter-terrorism
    policy. A smoker's friends can suggest a smoking cessation product as a cost-saving measure,
    since "smoking is such a terrible way to spend LIFE." Can you imagine the discursive
    possibilities?


    Is there any hard evidence that language affects economic behavior?
             Yes! Keith Chen, an economist at UCLA, published a paper that exemplified the
    Sapir-Whorf Hypothesis, titled, ''The Effect of Language on Economic Behavior: Evidence from
    Savings Rates, Health Behaviors, and Retirement Assets. " He found that native speakers of
    languages with weak future tense ("I go tomorrow") compared to native English speakers with
    strong future tense ("I will go tomorrow") adhere more thoroughly to a wide-range of
    future-oriented behaviors, simply because of the presentist manner that their native language
    frames intertemporal choice. Chen "discovered that speakers with weak future tenses (e.g.
    German, Finnish and Estonian) were 30 percent more likely to save money, 24 percent more
    likely to avoid smoking, 29 percent more likely to exercise regularly, and 13 percent less likely to
    be obese, than speakers of languages with strong future tenses, like English" (Thompson,
    Atlantic Monthly) . He explains most of the variation by suggesting that in weak future tense
    languages, like his native Chinese , there is less disjunction between an individual's present self
    and their future self.
             Can we simulate a portion of these same effects with a change in our currency name?
    One of the proposals advanced here, the QALM (or USQ), has built within it four temporal
    frames (Moment, Minute, Month, Millenia) and is a sibling of the QALY, a foundational metric for



                                                                                                      16
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 81 of 98
                                     WORKING DRAFT - (v0.88H)




    public health accounting, to nudge US currency users toward intertemporal choices that are, on
    margin, healthier.


    With a name change, will any denomination value gain prominence?
             That depends. For instance, any verb printed on the Jefferson bank note (02) will form a
    homophone with the full-infinitive verb, e.g. "to calm". In an initial print run, you might consider
    asking the Bureau of Engraving and Printing to release design specimens for the new V"2 bank
    note first as the public face of the new currency title. Doing so will send the message loud and
    clear both at home and abroad that the new US currency name is dedicated "2 (TWO) CALM",
    "2 (TWO) LIFE" , "2 (TWO) TRUST", "2 (TWO) PROVIDENCE" and/or "2 (TWO) PEACE". No
    other bank note is likely to be boosted as much in cultural exchange as the V"2, but the V"2 will
    likely remain relatively rare in commercial exchange nevertheless.


    So, how does this work, in mechanical terms?
        •   1 USO will always equal 1 USC (1 US Currency Contest-winner), forever. There will be
            no change in the exchange value of US Currency- the exchange of USD:USC will be
            1:1.
        •   The design of the 1, 2, 5, 10, 20, 50 and 100 bank notes will not change as a result of
            this contest- just the name that is printed to describe the denomination.
        •   All security features and printing processes are held constant.
        •   In proposal stage , the symbol of the USC may be something other than the $ sign. For
            instance, the 5 OALM might be represented as 50 or 05 rather than $5 , or have an
            altogether novel glyph to facilitate triggered recall of the USC's name; in the Contest
            Finals, a symbol change (as a symbol-synonym or symbol-swap) is up to Congress to
            decide. (I predict that a symbol change, though very useful, would be defeated, but a
            voluntary symbol synonym would be broadly adopted as supportive of the USC Priming
            Initiative.) I would propose "V"" as the provisional currency symbol , to represent the
            value we place on democracy. The V" can be combined and embedded inside any
            character with a circular center, like C, 0, 0 and D, and many other characters, like A
            and L, given slight allowances .
        •   The USC will not be printed unless it actually represents a real nominal (naming)
            improvement over the USO.
        •   The USC and the older USO will both be accepted everywhere in the world as legal
            tender, backed by the full faith (and credit) of the US.
        •   After a highly selective Congressional contest process, Congress authorizes the US
            Treasury to print the USC alongside the USO, with all factors held constant except for
            the name of the currency.
        •   Cash-Accepting Equipment Manufacturers will have four months lead-time to update
            their Optical Recognition Software, as necessary, based on US Treasury Design
            Samples.


                                                                                                      17
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 82 of 98
                                     WORKING DRAFT - (v0.8BH)




        •   The USC is gradually introduced into the monetary supply, starting with limited print runs
            in test markets as damaged currency is replaced .

    How do I propose and support the passage of this dollar naming contest?
            You and your staff are far more experienced and knowledgeable than I am with the
    choice architecture and protocols of the legislative process. If you 'll allow me to be so forward
    as to suggest a path , you might start with a conversation within the Ohio Caucus, to draft a
    bipartisan bill on the topic proposed and advanced by both Senators from the State of Ohio.
             Please engage the US Treasury Department and Federal Reserve, consult with
    cosponsoring members of the Subcommittee on Economic Policy of the Senate Committee on
    Banking , Housing , and Urban Affairs during the drafting process, and send the bill over to
    Banking , Housing and Urban Affairs for mark-up. Pull in Expert Testimony (historians,
    sociolinguists, economists, and choice architects, to name a few) and secure time for Public
    Hearings and Public Comment, from commentators both local and global. Perhaps other "dollar"
    currencies will follow our lead. We can enrich global commerce and trade culture through a
    massively open and collaborative naming contest.
             You might also start by directly engaging the press and schools in the State of Ohio
    - ask newspaper editors to solicit and print the best names that Ohioans can summon for the
    dollar. Attach a reasonably high set of rewards for names that successfully compete in the final
    brackets of the contest and achieve positive cultural , commercial or diplomatic ripple effects. Let
    rivers of ink spill forth in the newspapers of the world . Challenge every child in public or private
    school to win their school's contest for a better term of art than CALM (ARK or LIFE) to capture
    the mission and underlying values of USA action and commerce.



    Are there any warnings you want to offer us about any of the currency
    names you've mentioned?
             Besides that already mentioned, the CALM family may lead us toward two competing
    portmanteaus: CALMocracy and CALMunism. Supporters of QALM currency might get branded
    with the CALMunist label.
             I'm a firm bel iever in capitalism. I am very reverent toward the natural and social
    mechanisms that make capitalism function so well , and I am as far as can be from communism
    of any variety. That said, I would be proud to identify myself as an advocate of CALMocracy
    and , in print, I would be able to point out easily that I'm a CALMunist but not a communist, or
    more simply, a CALMocrat and not a communist. Then again , if we can persuade the
    Communist Party of China to swiftly swap out communism for CALM , the world would surely be
    a better place. By offering CALMunism as an alternative to Chinese Communism , we can help
    China gently-and without loss of face-back down and away from its present communist
    economic practices.
             No doubt, if you choose to champion the CALM family (QALM , CALM or ALM) you will
    want to talk through how to respond to the CALMunism charge in a way that reflects both your
    steadfast capitalist approach to all affairs domestic and international and the national and

                                                                                                       18
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 83 of 98
                                    WORKING DRAFT - (v0.8BH)




    international interests of the People of the United States committing to calm as a challenge to
    communism .
             I can also foresee CALM launching a number of decentralized political movements and
    policy initiatives that could enhance quality of life in unexpected ways over the century or
    half-century. For example, imagine the emergence of match-making services that seek to
    establish CALM through a "Century Assured Life Match" - a partner and spouse whose habits
    and attitudes predict an unbroken century of matrimony. Such an institution would help reinforce
    marriage and systematically reduce our divorce rate by adopting the long-view of a centurion's
    decision algorithm. There may also someday be "Century Assured Life Movements" built from
    the CALM that pressure government to reach or even exceed productive life expectancies of a
    century. To pull this last issue into high-relief, consider a currency called LIFE . How much LIFE
    should we spend at end-of-life versus beginning-of-life? At what point does end-of-life care turn
    into a bad LIFE investment, as compared to the needs of future generations?
             I sincerely believe debates about Head Start and End-of-Life budgeting would be easier
    if CALM or LIFE were the name of the currency. A reasonable citizen would not often say, "I
    would have you spend all the LIFE in the world to keep my father alive." On the contrary, the
    discussion of a move toward palliative and hospice care would feel different if the currency were
    called LIFE. A reasonable market-limit on LIFE would emerge for the preservation of life in
    public policies. Implicit/shadow pricing methods used by economists already show statistical
    LIFE values for life at the EPA (6.9 million), FDA (7.9 million), and Department of Transportation
    (6 million). Is that low or is that high? Should we extend the life of a terminally ill, suffering
    patient against his will by three weeks, at a cost of 4 million LIFE, when with that same sum we
    can save 100 lives with more careful oversight and federal review of GM automobile design
    alterations? That's a serious budgetary question, and must be taken seriously. Health
    economics would be much simpler under a LIFE currency, since severe irrationalities in how we
    distribute finite capital resources across the age spectrum could be highlighted as causative or
    correlative of a true shortage or wastage of life, as appropriate.


    Any suggestions for a new currency symbol?
             Introducing a currency symbol that is legally synonymous with $ to accompany the
    currency name could accelerate us toward a number of crucial US priorities, including, for
    example, the emergence of strong democratic republics through citizens coordinating
    commercial choices. For example, if a ballot box or voting symbol (V, Unicode+2614, or on
    special occasions IZ!, Unicode U+2611) were in-laid within the first initial of our new currency
    title, consumers could be encouraged to think of their commercial transactions as the daily
    exercise of "commercial endorsement" or "commercial vote". If enough people no longer
    CALMiy "vote" for a business in their community, that business will eventually die. I speculate
    that individuals accustomed to the notion of CALMiy voting for the continued existence of
    businesses that support community CALMiy will be primed to adopt the calm and orderly voting
    traditions of a representative democracy.
             If LIFE is chosen, the most obvious currency symbol would too closely resemble the
    currency symbol of pound sterling . If Q were the currency symbol, the USQ abbreviation would

                                                                                                    19
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 84 of 98
                                     WORKING DRAFT - (v0.8BH)




    be a novel entry into foreign exchange, and the USO would naturally empower us to ask Qs
    before entering into a transaction denominated in USO. Alternatively, if the US Currency Cultural
    Contest selected the US Alliance (ex: 1O Alliances) , a $20 would be denominated as 20 USA
    (rather than 20 USO, as at present) . USO and USA are both competitive.
            The Ripple would abbreviate into USR, which you might want to avoid for its proximity to
    the acronym of the Union of Soviet Socialist Republics. The USR abbreviation is not very
    competitive.
            Any currency name that starts with S, such as US Springs or US Sparks, would
    abbreviate to USS, and could serve as a long-term stimulus to USS Enterprise. I don't advise
    starting a currency name with S, because it will be awkward handling the sibilence when its
    followed shortly after with the word "cents" .
            Using C as the base letter for a new US Currency symbol may be wise , especially if you
    choose CALM , or if you anticipate repeating this US Cultural Currency Contest (USC)
    periodically (eventually, every 25 or 50 years) , perhaps with contest selection completed on the
    following schedule: 02025 , 02075 , 02125 , 02175 , ad infinitum, such that the new prints reach
    the currency supply on anniversaries of Independence Day (250th - 02026, 300th - 2076, etc.
    ad infinitum). Please see the attached Appendix Three for a more detailed sample tournament
    schedule.
             In rank order of personal preference, I would suggest for our currency's three letter
    abbreviation USA (for US Ark or Arc, in reference to the United Revolution Committee) , USO
    (for US QALM and US Questions), USC (generically, US Currency and specifically, US CALM) ,
    USA, and USO in that order, with a general preference for currency names that start with Q, C,
    or D. All three of these letters will support an internal voting symbol within the "counter" (the
    circular inner portion or bowl) of the glyph.
             The currency symbol should be designed not just as a static but also as a dynamic
    object, with design elements that emerge (or are activated) in response to a touch . Imagine
    standing in front of a sale terminal at CVS. After you ring up your items on the electronic screen ,
    you can press any portion of your itemized purchase screen to activate the vote on that product.
     By tapping the screen , the default display of Q will change into Q ✓ , sending an appreciative
    signal back to the retailer and even the manufacturer. A POS system can even be designed
    whereby if you tap twice, you move from Q to Q ✓ to X, where X symbolizes a customer
    complaint. Imagine if such a POS system existed at Walgreens, and on each Election Day,
     consumers were free to vote for or against their business carrying cigarettes and other
     QALM-destroying or QALM-enhancing products with a nationwide Q ✓ or X campaign .
     Permitting such mass consumer action through Consumer Voting Days would hasten the day
     where we live in a peaceful, prosperous world, and, I would furthermore predict, that if it fell on
    the same day as votes for public office, would as a side effect drastically increase Public Office
     Voting turnout in the United States to previously unimaginable numbers. The custom of National
     Customer Voting Days that coincide with National Elections can fuel and accelerate the
     adoption of democracy in all free market systems , and could improve business and
     governmental decision-making by expanding the range of feedback that business and
     government can ethically collect from citizens. All this becomes possible with a
     touch-responsive currency symbol.

                                                                                                      20
Case 9:25-cv-80890-WM DocumentWORKING
                               1 Entered on FLSD
                                       DRAFT      Docket 07/15/2025 Page 85 of 98
                                              - (v0.8BH)




               Even without a touch-responsive currency symbol, if the currency were named like
      CALM, 9itizens could engage in CALM BOMBS - the CALM equivalent of a cash mob - a
      sudden explosion of cash at the register for firms that take a positive step within the commercial
      community.
               The currency symbol will have to be highly-legible at all standard print and digital display
      sizes. It can be multicolored, but must print well in black and white. It must be easy to write , take
      no more than three pen strokes, and must be as fast or faster than writing a Spanish peso($)
      symbol. Its design elements must communicate and reinforce the mission and values of the
      United States as a Light Unto The Nations. Of the currency abbreviations recommended above
      (USO, USC, USO and USA), Q, C and D can each be written at a faster rate and with fewer pen
      strokes than the single- and double-barred Spanish peso($) sign. Try it; you'll see. The voting
      mark is an optional expression.
               On voting days and at poll booths, the checkmark might be surrounded by a ballot box to
      reinforce its signification as a civic/consumer voting decision. This depiction of the Q for QALM
      symbol is colorized in Old Glory Red and Old Glory Blue.




                                                  QforQALM
                                   Example Formal Currency Sign
                 Qin Optima Font, Embedded Ballot Box with Check (Unicode U+2611)

              Whatever you choose to do with the currency symbol , please do not do anything to
      outlaw the Spanish peso($) sign or dissuade anyone outside of government from using the old
      Spanish peso (SP=> $) symbol , if they want. Leave it up to individual enterprises to decide
      whether and when they want to adopt the new symbol or stick with the old design . Changing the
      currency symbol in store signage, receipts, forms and databases may be time-consuming and
      expensive if not done on an optional and incremental basis. If you do decide to implement an
      improved currency symbol, such as the Q (Q, Q ✓ , possibly X) or C (C, C ✓ , possibly X)
      fingertap progression (both of which would be a manifest improvement over the static Spanish
      peso[$] sign) and ask businesses to comply with the change in touch-sensitive POS screens in
      order to implement Consumer Voting Days, please phase it in and give large and small
      enterprises plenty of lead-time to cost-effectively update all appropriate interactive interfaces. A
      four-year and eight-year transition time-frame for large and small businesses respectively
      seems fair - the period required for one and two Presidential elections. That way, if they want
      to, small or midsize businesses can sit on the sidelines and observe how the first Consumer
      Voting Day goes before they proceed with their own implementation . If the preparation or


                                                                                                         21
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 86 of 98
                                    WORKING DRAFT - (v0.8BH)




    execution of the first such Voting Day (Civic and Consumer QALM) demonstrates that there are
    kinks in the legislation or administration of the program , you can adapt the program so that it
    better fits the capacities of small, midsize and large companies and the needs of citizens before
    the full Voting Day system kicks in .



    What about other countries input and response?
             The influence of USO extends to those places where USO is used exclusively or almost
    exclusively (British Virgin Islands, Caribbean Netherlands, East Timar, Ecuador, El Salvador, the
    Marshall Islands, Federated States of Micronesia, Palau, Panama , Turks and Caicos Islands)
    and those that use the USO as legal tender in parallel with other currencies (Iraq, Afghanistan ,
    Vietnam , North Korea , Haiti, Bahamas, Barbados, Costa Rica , Belize, Bermuda, Uruguay,
    Cambodia , Lebanon , Liberia , Zimbabwe, and Somalia). These sovereign nations and territories
    where the dollar is commonly traded comprise tens of millions of souls.
             All those nations and territories listed above should be invited to participate in the
    RE:Naming Contest with Ambassadors, Ambassador designees or serving as panelists on an
    international bracket, with an appropriate, equitable and inclusive formula for representation
    determined at a later stage in consultation with an organization like the US State Department.
    As needed, those nations above should be given an invitation by the US Treasury Department
    following the RE :Naming Contest to update their legal codes for acceptance of USC (US
    Currency Contestwinner) as legal tender as of the date of its planned introduction .
             Likewise with the other dollar basket currencies. Our neighbors, trading partners and
    friends in the United Nations who trade with the "dollar" family (Canada, Australia , New Zealand ,
    Hong Kong , Singapore, Taiwan , Jamaica, Cayman Islands, Fiji, Namibia, Rhodesia , Zimbabwe,
    Namibia, Nauru, Saint Kitts and Nevis, Saint Lucia , Saint Vincent and the Grenadines, the
    Solomon Islands, Brunei, Dominica , Grenada, Guyana, Antigua, Kiribati, Trinidad and Tobago,
    and Tuvalu) should be invited to participate at a high-level. If they want to run their own currency
    renaming competition , or conditionally peg their currency to our naming system, they should be
    more than welcome to do so. If we invite all nations to participate in a meaningful way through
    an international bracket, with special consideration granted to Most Favored Nation allies
    through all appropriate channels, through Central Bank, Embassy or WTO relationships.
             Notice that Iraq , Afghanistan, Vietnam and North Korea - all of which were combat
    zones where the United States Armed Forces engaged in a major troop deployment in the last
    fifty years - use the dollar in parallel with other currencies. Major and extended US troop
    deployments invariably shift the local economy toward adoption of our bank notes, currently in
    the denomination of the dollar. If this aspect of force deployment-dollarization-is going to
    remain a side effect of international conflict, would it not be wiser for us to transform our
    currency into a pacification tool? Would we not rather invest CALM , QALM and LIFE into
    Afghanistan and Iraq? Would the President of the United States prefer that soldiers in
    Afghanistan invest dollars into the Afghan economy or invest CALM? Doing so would have a
    CALMing effect and could help, on margin, alleviate the tension between troops and the local
    population in a time of war. A CALM currency could also shorten the duration and lower the

                                                                                                     22
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 87 of 98
                                         WORKING DRAFT - (v0.8BH)




    intensity and frequency of conflict. Life-centered , CALMing currencies would help mitigate
    violence in US combat zones (past, present and future) through market penetration of our new
    currency and the philosophical ideology beh ind them , leading to negotiations and conflict
    avoidance strategies that jointly save CALM (Confirmed Afghani & All American Life Months).


    Will anything be lost in translation?
             At first there will be some degree of lost meaning in countries that do not commonly
    speak English. However, English is the lingua franca of the world, and the selected currency
    name will likely be assimilated into practically every world language. We can be confident that
    the word selected will enter as an anglicism into all languages, major and minor, that have
    trading relationships with Uniteds. Each serious contender can be reviewed by the State
    Department for equivalencies in National Security Languages outside the term's original
    language family. For instance, English words can be reviewed for equivalents in Arabic,
    Mandarin Chinese, Russian , Hindi , and Persian . Each entry can be reviewed by the State
    Department for colloquial compatibility with the major languages spoken on Earth, listed in order
    of total speakers (Wikipedia 4): Mandarin, English , Spanish , Hindi, Bengali, Portuguese , Russian ,
    Urdu , Indonesian, Japanese, German, Javanese, Telugu, Wu , Korean , Tamil , French , Marathi,
    Turkish , Vietnamese , Italian, Western Punjabi , Cantonese , and Arabic.


    What else can be done to improve our currency system's or our democracy's
    health and longevity?
             You 're still with me? The brief proposals that follow are projects that I would recommend
     you consider separately from the RE :Naming Proposal above.
             Why are we still using paper (cotton and linen) currency? Why does Crane & Co . have a
     monopolistic lock on the production of our currency? Every other major economy has moved
     over to more durable and colorful plastic currency that is, overall , far less expensive to
     manufacture and maintain . You can pay for thousands of student years of high quality public
     school STEM education with the savings that a switch to plastic currency would bring . Going
     from paper to plastic would be an outstanding LIFE trade.
             Does anyone use pennies anymore? Please try to take firm steps toward deprecating
     the penny and possibly the nickel, in that order, from circulation , as they both cost more to make
     than they are worth in trade , and most people consider them a hassle to deal with in everyday
     life.
             To facilitate the transition , the New Zealand playbook for eliminating obsolete coins is
     worth following . New Zealand has an excellent policy already developed for just this objective.
     As of the document print date, the New Zealand dollar is worth 0.88 USO, yet in New Zealand
     no one or five cent physical coins are permitted in daily consumer commerce - the smallest
     piece of physical change is the ten cent piece. Allow all businesses to continue to list prices and
     sell goods and services of any value over electronic and credit card commerce (V3.99), but


     4
         This paper would not have been possible without Wikipedia.
                                                                                                      23
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 88 of 98
                                      WORKING DRAFT - (v0.8BH)




    require that businesses accept payment from the usual minority of consumers using cash at a
    price rounded down to the nearest nickel (11'3 .95). Forbid businesses from accepting physical
    pennies ("pennies") after a certain date, but permit persons to redeem their pennies at the bank
    for their face value, or through a donation to a favorite charity. As in New Zealand, billions of
    pennies will be donated to charity this way, representing millions of dollars of philanthropy, and
    ridding us once and for all of the pernicious penny in domestic commerce . With our pockets and
    change purses freed up, we will all be more inclined to carry around 1Q ( v 1) coins than we
    have been in the past. Abraham Lincoln, whose presence on the penny will be sorely missed,
    will always be honored on the 5Q (v"5) bill. In coinage, we can also honor him with the first 2Q
    ( v" 2) bills or coins printed, at the pleasure of Congress.
              It's very likely that the low level of adoptance of the v" 1 Presidential coin is very closely
    related with the ongoing life of the penny and nickel. If the penny and nickel were eliminated, the
    expected value of change would rise to a dime and quarter minimum, and Uniteds would have
    more space in their wallets for dollar coins with wallets unencumbered by pennies and nickels. If
    you want to encourage adoption of the v" 1 coin, start by clearing out the penny and nickel using
    the New Zealand playbook.
              The penny and more so the nickel may remain essential within developing nations, so
    please consult experts in global microfinance on the exchange value of the penny so as to tread
    cautiously with respect to deprecating the penny in international markets.
              Lastly, why is our currency the only major OECD currency that can 't be easily read by
    the blind and visually impaired? Basically every other major currency comes in a size spectrum,
    with bills (2, 5, etc.) also ordered by increasing size. I understand the resistance of NAMA (the
    National Automated Merchandising Association), but nonetheless, the writing has been on the
    wall for decades now that a change needs to be made. I know that the Director of the Bureau of
    Engraving and Printing, Larry Felix, has some strides towards usability and access for the blind
    and visually impaired by introducing an iPhone app and a portable bill reader machine, and I
    want to applaud the BEP for executing that work. There is still significant room for improvement,
    and we all know what it will take to get there.
              So, at what point will Congress move on plastic bank notes, the removal of pernicious
    pennies and nickels, the removal of dollar bills from co-circulation with dollar coins , and resized
    bank-notes for the blind and visually impaired? These are battles that I would hold off on or treat
    separately and isolate from the RE:Naming contest, so as not to add any unnecessary
    confusion to the legislative process or introduce too much change at once.
              I sincerely believe that implementing the combined and reinforcing consumer
    commercial rights and design elements expressed in this document will lead to a more peaceful,
    calm , and pluralistic world where, with US Currency denominated in a more CALM form , we
    may reprove nations that disturb international QALM through conscientiously non-violent
     means. Renaming our currency to something as fundamental as CALM, QALM or LIFE will
     improve the sensitivity, efficacy and effectiveness of trade sanctions and commercial isolation.
    The potential benefits are staggering, including but not limited to the benefits in interpersonal
    and international violence prevention, through the introduction of new and more easily
    accessible diplomatic linguistic forms. It is my belief that through improvements in commerce
     and the medium of international and domestic value exchange, we will find a diplomatic pathway

                                                                                                         24
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 89 of 98
                                     WORKING DRAFT - (v0.8BH)




    toward that day when we will " ... hammer [our] swords into ploughshares ... [n]ation shall not lift
    up sword against nation, neither shall they learn war anymore. For the work of the righteous
    shall be peace, and the effect of the righteous , QALM and confidence forever." (Isaiah 2:4). This
    medium of exchange has long been recognized by authors as old as Adam Smith-one of my
    namesakes- as an exchange not only of value, but also of moral sentiment. In the Abramic
    (JudeoChrlslam) tradition, which 80 .7% of Uniteds identify as, in Genesis 2:20, Adam was given
    a special charter to develop Hebrew names for the animals. I ask you in my own name, and on
    behalf of my fellow US citizens and mankind of all religious traditions, Abramic or otherwise, for
    a special charter from Congress to rename the most important currency in the world in a
    pluralistic manner through an open contest of ideas, starting with our own, the US Dollar, for the
    purpose of preserving and sanctifying life, liberty and the pursuit of happiness through wiser
    worldwide commercial intercourse. Doing so will help bring us closer to that day when we will all
    experience calm and confidence forever.

            Thank you , sincerely, for taking the time to read this proposal deeply. A wide range of
    possibilities were introduced in this paper: a US Cultural Capital Currency Competition (USC) in
    the form of periodic quarter century or half century currency re:naming tournaments ,
    life-centered and liberty-focused currency names, emergent domestic and international security
    policies built from the USC, sociolinguistic predictions for renamed currency idioms,
    touch-sensitive interactive currency symbols, an extension of the notion of voting rights to
    Consumer Voting Days, interlinkage of State and Federal Voting Days with Consumer Voting
    Days for enhanced consumer feedback and civic participation , and quite a few enmeshed
    domestic and foreign policies fueled by our selected currency names to broker a just and lasting
    global peace.
             It's my belief that this project of renaming our currency will have broad and long-lasting
    implications in national and international security and peacekeeping , and your contribution to
    the project may one day lead to a Peace Prize for the government agents and officials who
    successfully secure passage for an Act authorizing a Cyclic Calm Currency Naming Contest. If
    we choose well and wisely in a naming tournament with a suitable choice architecture geared
    toward domestic tranquillity and international peace, no other currency will compare, or be as
    CALMing for LIFE.
             Please feel free to email us (contest@currencycalm org) for follow-up conversation,
    questions, comments, criticism or planning . We would welcome any help or support you can
    offer.




                                                                                                      25
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 90 of 98
                                                   WORKING DRAFT - (v0.8BH)




    Appendix One

     Sample contest bracket of twelve currency titles, with "US DOLLARS" promoted by default to 1st
     Seed.


      Conscientious, Calm Currency Contest
                                              US OOUARS iUSO)

                                          I
                                                                }
           US ARKS (USA)

           lJS tlNCOlNS {USL)



                                              US QAtM (USO)

           USUf-E.(USLJ
           US Rl"l'!.ES 1IJ5't, R) (Rip
                                          I
                                              US STEAM (USS)


                                          I
                                                                }
           llS AuJS {USA)
           US >-tOPf.1USH)                                                    Bro nze Match



                                              US CALM (USC)

           US WAVES \USW)
           US TALENTS (USTj
                                          I


     Sample 12 Entrant Tournament Field
     Strongest Options Identified Thus Far, Ordered by Seed Status
            Seed 1: US Dollars (USO, $2 = 2 Dollars)
            Seed 2: US STEAM (USS, $2 = 2 $TEAM)
            Seed 3: US CALM (USC, 02 = 2 CALM)
            Seed 4: US QALM (USQ, R 2 = 2 QALM)
            Seed 5: US LIFE (USL, L ✓ = 2 LIFE)
            Seed 6: US WAVES (USW, W2 = 2 WAVES)
            Seed 7: US ALMS (USA, A2 = 2 ALMS)
            Seed 8: US RIPPLES (USR, R2 = 2 RIPPLES™)
            Seed 9: US LINCOLNS (USL, L ✓ 2 = 2 LIFE)
            Seed 10: US HOPE (USH, H)
            Seed 11 : US TALENTS (UST, T)
            Seed 12: US RIPPLES (USR, R) (*™, Ripple Labs)




                                                                                                26
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 91 of 98
                                    WORKING DRAFT -        (v0.8BH)




    Appendix Two
    A much wider pool of thirty-six (36) currency name options selected over the course of a year as
    sample entrants for the "First Round Draft", cultural "systempunkts for good" that may counter
    crime and lead , on margin, to peace and prosperity through increasingly empathic local and
    global trade . Some of the options below are weak, such as "US Thoughts". Some others are
    subtle, supple, and strong , like "US LIFE", "US CALM " and "US STEAM". It is my greatest wish
    to see our Congress and the Public develop and advance original names in competition that
    outperform those suggested below. Please read this list to "rev up" your imagination, and please
    do everything possible to imagine and propose your own alternative.

        ✓   ALLIES (USA)
        ✓   ALM (USA) [ALTARED LIFE MONTH FAMILY]
        ✓   CALM (USC) [ALTERED LIFE MONTH FAMILY]
        ✓   CHOICES (USC)
        ✓   CLAIMS (USC)
        ✓   DEEDS (USO)
        ✓   DOLLARS (USO)
        ✓   LABOR (USL)
        ✓   LIFE (USL)
        ✓   LIGHT (USL)
        ✓   LINCOLNS (USL)
        ✓   MARKS (USM)
        ✓   OPTIONS (USO)
        ✓   PATHS (USP)
        ✓   PEACE (USP)
        ✓   PICKS (USP)
        ✓   PLOWSHARES (USP)
        ✓   POINTS (USP)
        ✓   PREFS (USP)
        ✓   PURSUITS (USP)
        ✓   QALM (USQ) [ADJUSTED LIFE MONTH FAMILY]
        ✓   QALY (USQ)
        ✓   RATIONS (USR)
        ✓   RIPPLES™ MAYBE (RPL)
        ✓   SEEDS (USS)
        ✓   STARS (USS)
        ✓   STEM (USS)
        ✓   STEAM (USS)
        ✓   SPRINGS (USS)
        ✓   TALENTS (UST)
        ✓   THOUGHTS (UST)
        ✓   TRUST (UST)
                                                                                                  27
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 92 of 98
                                 WORKING DRAFT - (v0.8BH)




       ✓   VOICE (USV)
       ✓   VOTES (USV)
       ✓   WAMPUM (USW)
       ✓   WAVES (USW)

    Four other example options with historical cultural value that weigh in at over two
    syllables and would require an exemption waiver on the syllable limit
        ✓ The CONTINENTAL (USC) [Perhaps abbreviated in slang as "Counts"]
        ✓ The LIBERTY (USL) [Abbreviated as "ls" with special two-syllable exemption]
        ✓ The LLP (USL) ("life, liberty, and the Pursuit of Happiness")
        ✓ PROVIDENCE POINTS (USP) [Abbreviated in slang to "USP" or "Points"]




                                                                                          28
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 93 of 98
                                    - WORKING DRAFT -          (v0.8BH)




    Appendix Three: Sample Tournament Schedule

           Basic Proposed Schedule for Mutual Congress, Treasury and Agency Coordination


         Contest Formally       Nominations Due      Tourney              Public           1776
         Opens                                       Contest              Release          Anniversary
                                                     Finals

         July 5, 02024 5 CE 6   January 1, 02025     July 4, 02025        July 4, 02026    250th

         July 5, 02074          January 1, 02075     July 4, 02075        July 4, 02076    300th

         July 5, 02124          January 1, 02125     July 4, 02125        July 4, 02126    350th




     5
      All dates are expressed in five digits, fol lowing The Long Now Foundation convention .
     6
      All dates are expressed in CE, understood as Common or Current Era, to comply with the 1st
     Amendment's Establishment Clause.
                                                                                                     29
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 94 of 98
                                   WORKING DRAFT - (v0.8BH)




    Appendix Four: A Linguistic Litmus Test

    Please fill in the blank with your own suggested currency name to see how it might perform in
    everything from regular speech to slang. Replace the word "dollars" with your suggested
    currency name in any of the eighteen (18) sample questions below and see how your
    suggestion scores. For example, "LIFE", "CALM", "QALM" (pronunciation : CALM), "ALM",
    "WAVE", and "RIPPLE" all pass a large number of the test phrases below, meet the basic
    conditions {!:2 syllables, S:8 letters) and are highly competitive, each producing subtle and
    distinctive marginal effects on life through improved embedded marginal decision-making
    heuristics.

       1. I would sell the shirt off my back for _ _ _ _ (CALM/STEAM/LIFE/DOLLARS).
       2. The liquid assets of the Bill & Melinda Gates Foundation are over 37 billion _ _ __
            (dollars).
       3. I scored 10 out of 10 _ _ ( ✓ /C ✓ /$TEAM/Q ✓ /L ✓ /D) on my last quiz!
       4. Our measurement of Gross National ____ (CALM/STEAM/LIFE/DOLLARS) is taken
            annually.
       5. The President reports on the state of ___ (CALM/STEAM/LIFE/DOLLARS) as part of
            the State of the Union.
       6. Paying my bills and debts on-time or even early helps settle the flow of _ _ _ __
            (CALM/STEAM/LI FE/DOLLARS).
       7. A basic financial education in high school is essential for managing _ _ __
            (CALM/STEAM/LIFE/DOLLARS).
       8. We can rectify and prevent the recurrence of the atrocities of the past by conducting our
            trades in a manner that is consistent with ____ (CALM/STEAM/LIFE/DOLLARS).
       9. It's worth spending _ _ (CALM/STEAM/LIFE/DOLLARS) on quality.
       10. I would feel deeply ashamed-whether or not I was ever caught-if I were to counterfeit,
            steal or set fire to _ _ _ _ (CALM/STEAM/LIFE/DOLLARS).
       11 . Stealing _ _ _ _ (CALM/STEAM/LIFE/DOLLARS) from banks is not a victimless
            crime.
       12. Terrorists would find it hard to recruit support for an attack on an economy whose
            currency is denoted in _ _ _ (CALM/STEAM/LIFE/DOLLARS).
       13. A rejection of the _ _ _ _ (CALM/STEAM/LIFE/DOLLARS) currency would be a
            rejection of life itself.
       14. _ _ _ _ can buy you happiness (at least, up to a point) .
       15. We spend so much of our lives chasing the Almighty _ _ __
            (CALM/STEAM/LIFE/DOLLARS).
       16. Our currency, denominated in _ _ _ _ _ _ (CALM/STEAM/LIFE/DOLLARS), ties
            into our international priorities.
       17. The interest and principal that we owe on a bank loan is better denominated in terms of
            _ _ _ _ ; we borrowed _ _ _ from our future selves, and will gladly pay it back
            on-time.
                                                                                                    30
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 95 of 98
                               WORKING DRAFT - (v0.8BH)




       18. Naming our currency ____ will preserve international ___ and save _ __
           and I would gladly devote the remainder of my life to securing _ _ _ __




                                                                                     31
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 96 of 98
                                    WORKING DRAFT - (v0.88H)




    Appendix Five: Name Nominators & Key Legislative, Executive
    Personnel

    Specially Authorized Currency Name Nominators <Proposed Candidate Set. Unranked)
        ➔ United States Congress: Senators and Representatives, including Speaker of the House
          and President of the Senate
        ➔ POTUS and FLOTUS and Family (Renegade , Renaissance , Radiance and Rosebud)
        ➔ VPOTUS and Family
        ➔ Justices of the Supreme Court of the United States
        ➔ All State Legislatures, the District of Columbia and US Territories
        ➔ State-level Departments of Education, for Students in Each State & Territory
        ➔ US Secret Service (Security and Anti-Counterfeit Mission)
        ➔ Presidential Cabinet Members (Secretaries of the Department of State, Treasury,
          Defense, Attorney General , Interior, Agriculture , Commerce, Labor, Health & Human
          Services, Housing & Urban Development, Transportation, Energy, Education , Veterans
          Affairs, Homeland Security)
        ➔ Governors of the Federal Reserve
        ➔ Fraternal Order of the Police, National Sheriffs' Association and the International Chiefs
          of Police
        ➔ State Departments of Education , selecting from Certified School Principal and
          College/University President Nominations, made on behalf of Faculty Selection
          Committees
        ➔ Heads of State with Formal United States Trading Relations , including United Nations
          General Assembly Members, WTO Members with Most Favored Nation Trading Status,
          etc.
        ➔ Countries with dollar-denominated Currencies (Canada , Australia , New Zealand , etc.)
        ➔ "We the People" Petitions from US Citizens and Resident Aliens that cross the Signature
          Thresholds (currently: 100,000 signature in 30 days)



     Members of the Senate Subcommittee on Economic Policy

     Senators Jeff Merkley (Chairman) , Jon Tester, Mark R. Warner, Kay R. Hagan , Joe Manchin 111 ,
     Heidi Heitkamp, Dean Heller (Ranking Member) , Tom Coburn , David Vitter, Mike Johanns, Mike
     Crapo , Tim Johnson

     Members of the House Subcommittee on Monetary Policy and Trade {Counterparts)

     Representatives Bill Huizenga (Chairman), Frank D. Lucas , Stevan Pearce, Bill Posey, Stephen
     Lee Fincher, Marlin A. Stutzman , Mick Mulvaney, Robert Pittenger, Tom Cotton , Luke Messer,
     Jeb Hensarling (Ex officio) , Spencer Bachus (Emeritus) , Wm. Lacy Clay (Ranking Member) ,

                                                                                                  32
Case 9:25-cv-80890-WM Document 1 Entered on FLSD Docket 07/15/2025 Page 97 of 98
                                     WORKING DRAFT - (v0.8BH)




    Gary C. Peters , Bill Foster, John C. Carney, Jr., James A. Himes, Terri A. Sewell, Patrick
    Murphy, Kyrsten Sinema, Denny Heck, Maxine Waters (Ex officio)

    Secretary of the Treasury
    Jack Lew

    Governors and Presiden ts of t he Federal Reserve Bank
    Governors: Ors. Janet Yellen , Stanley Fischer, Daniel K. Tarullo , Jerome H. Powell , and Lael
    Brainard
    Presidents: Eric S. Rosengren , William C. Dudley, Charles I. Plosser, Loretta J. Mester, Jeffrey
    M. Lacker, Dennis P. Lockhart, Charles L. Evans, James Bullard, Narayana Kocherlakota,
    Esther L. George, Richard W. Fisher, and John C. Williams




                                                                                                    33
Case 9:25-cv-80890-WM Document 1 Entered
                            WORKING      on FLSD
                                      DRAFT      Docket 07/15/2025 Page 98 of 98
                                             - (v0.8BH)




                                 July 4th, 2016-Ju/y 4th, 2026

                 Q: Which is the most life-saving and effective currency name?

                             ,

                                 http://www.currencycalm.org
                                  contest@currencycalm.org




                                                                                 34
